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                                                                                           JUN 03 '24 AM08:42
   [Pro Se] sui Juris


                 UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF UTAH

 UNITED STATES OF                                            CASE NO.: 2:23-cr-159
 AMERICA,
        Plaintiff,                                          Defendant's
                                                    Motion for a Directed Verdict
            v.
                                                     or Judgment of Acquittal
 Ken Cromar,                                             on Counts 2 and 3
        Defendant.

                 Defendant's Motion for a Directed Verdict or
                  Judgment of Acquittal on Counts 2 and 3

   1.      Comes now, Ken Cromar, Defendant, pro se; who hereby moves this court under the
   Federal Rules of Criminal Procedure, Rule 29, for a Directed Verdict of not guilty or a
   Judgment of Acquittal on Counts 2 and 3 of the Indictment and Complaint, charging the
   defendant under authority of Title 26 U.S.C. Sections 7212(a) - Corrupt or                Forcible
   Interference, and 7212(b) - Forcible and Attempted Rescue of Seized Property. This Motion is
   made because, by the undisputed facts of the case that were confirmed by the testimony at trial
   of the prosecution's own witness, Auctioneer Gary Chapman, the facts of the case are not facts
   that are addressed by the language of the charging statutes as facts that constitute a violation of
   those statutes because the specifically Title 26 criminal statutes have been erroneously argued
   and misapplied by the plaintiff to the Title 28 facts and circumstances of this case, as admitted
   by Mr. Chapman.
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   2.     Because the legal administrative process to seize and sell the defendant's home and
   property, that the defendant is accused of interfering with, actually occurred under authority
   of the district court's ordered enforcement of a judgment that was rendered and enforced by the
   district court under authority of Title 28 statutes, and not by the IRS under Title 26 laws,
   which are specifically required by each of the two charging statutes. Therefore, the charging
   statutes do not apply.    Specifically, they do not apply because the seizure of the home was
   made by the U.S. Marshalls under an Order of the court to do so, and was not seized by any
   IRS employee, operating under authority of any Title 26 code section, and specifically not
   Sections 6331 - Levy and Distraint, or 6335 - Sale of Seized Property, for lack of any IRS
   Notice of Levy or Notice of Seizure as required under those code sections to authorize such
   seizure and sale actions under Title 26 statutes, as required by the charging statutes.


          Count 2 of the Indictment and Complaint, Title 26 Section 7212(a)


   3.     To begin, the statute cited by the plaintiff as the statutory foundation for Count 2 of the
   Indictment and Complaint, Title 26 Section 7212(a), plainly and clearly states:


           § 7212 - Attempts to interfere with administration of internal revenue laws

          (a) CORRUPT OR FORCIBLE INTERFERENCE
          Whoever corruptly or by force or threats of force (including any threatening
          letter or communication) endeavors to intimidate or impede any officer or
          employee of the United States acting in an official capacity under this title, or
          in any other way con-uptly or by force or threats of force (including any
          threatening letter or communication) obstructs or impedes, or endeavors to
          obstruct or impede, the due administration of this title, shall, upon
          conviction thereof, be fined not more than $5,000, or imprisoned not more than
          3 years, or both, except that if the offense is committed only by threats of
          force, the person convicted thereof shall be fined not more than $3,000, or
          imprisoned not more than 1 year, or both. The term "threats of force", as used
          in this subsection, means threats of bodily harm to the officer or employee of
          the United States or to a member of his family.


   4.     This statute, in Title 26 of the United States Code (U.S.C.) plainly states: "Whoever ...
   endeavors to intimidate or impede any officer or employee of the United States acting in an
   official capacity under this title ... or endeavors to obstruct or impede, the due administration
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   of this title, shall, upon conviction thereof ... ". The "Title" referred to in this code section is, of
   course, the Title that the code sections are contained in, which is Title 26 of the United States
   Code. So, if a person interferes with the administration of the Title 26 statutes, they are
   subject to the criminal charges and potential penalties of Section 7212(a) and 7212(b).


   5.      However, in this case, defendant Ken Cromar is accused of allegedly attempting to
   interfere with the administration of a Title 28, court ordered seizure and sale process, i.e.: a
   court ordered seizure and sale which was all conducted under the judicial authorities of Title
   28, Sections 2001 and 2002, which are outside of Title 26; - and the sale process was
   completed without the use of, or reliance upon, any Title 26 statute or law.

   6.      Therefore this criminal statute(§§ 7212(a)) does not apply to the facts of the case, and
   therefore the charge and Count (2) brought under this statute must be foreclosed by the court
                                                                                               •
   at this time by a directed verdict or a judgment of acquittal over this Count and criminal
   charge, because the statute does not apply to an alleged interference of the enforcement or
   administration of Title 28 statutory authorities, or of the Orders of the Court issued under the
   Title 28 authority, only Title 26, which was factually not involved in either the sale of the
   home, or its seizure by the U.S. Marshall's which was authorized under Orders of the Court,
   not any statute of Title 26.       Title 26 was not involved in the seizure or the sale of the
   defendant's home and property.

   7.      And the testimony heard in court at trial from Gary Chapman, factually confirms that
   Title 28 was indeed the source of the legal authority for the judicially ordered seizure and sale
   of the defendant's property; - and that there were no Title 26 statutes involved in the U.S.
   Marshall Service's enforcement of the court's Orders. Factually, there was no IRS employee
   involvement under Title 26, in those Title 28 seizure and sale actions and process, because it
   was conducted under authority of the Title 28 statutes; - and there was no IRS levy or seizure
   action that was authorized or that occurred under authority of Title 26. The charging statute
   does not apply to the Title 28 facts of the case. Count 2 therefore requires a directed verdict
   of not guilty, or a judgment of acquittal, at this time.


           Count 3 of the Indictment and Complaint, Title 26 Section 7212(b)
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   8.     Next, the statute cited by the plaintiff as the statutory foundation for Count 3 of the
   Indictment and Complaint, Title 26 Section 7212(b), similarly plainly states:




          § 7212 - Attempts to interfere with administration of internal revenue laws

          (b) FORCIBLE AND ATTEMPTED RESCUE OF SEIZED PROPERTY
          Any person who forcibly rescues or causes to be rescued any property after it
          shall have been seized under this title, or shall attempt or endeavor so to do,
          shall, excepting in cases otherwise provided for, for every such offense, be fined
          not more than $500, or not more than double the value of the property so
          rescued, whichever is the greater, or be imprisoned not more than 2 years.


   9.    This charging statute says that it is a crime for any person to "rescue or cause to be
   rescued, any property after it shall have been seized under this title". However, in order for
   property. to have been "seized under this title", it would have to have been seized under
   authority of the statutes contained in this Title, which is again, Title 26.      But the Title 26
   statutes under which such a seizure could be made are Section 6331 - Levy and Distraint, and
   6335 - Sale of Seized Property, which would both require either an IRS Notice ofLevy issued
   under authority of Section 633 l(a), or a Notice of Seizure issued under authority of Section
   6335(a). No such documents are evidenced on the record of the action in the court to support
   a claim that the seizure and sale of the home was an IRS, Title 26, enforcement action.


   10.    Of course, that is because in this instant case there has never been a seizure of any
   property that has been made under Title 26 that would make this criminal statute applicable
   within this criminal prosecution of the defendant.     A "seizure" of property under Title 26 is
   made by IRS levy under Section 6331 using a Notice of Levy, or under Section 6335 using a
   Notice of Seizure. But there was no IRS levy, nor any other seizure type action that was
   conducted under authority of Title 26, that is, or ever was, factually involved in this dispute, or
   done, - going to well past the statute of limitations of 6 years under Section 63 51.

   11.    There is no Title 26 seizure that was ever made in this dispute history, which could
   then make the charging statutes relied upon for Counts 2 and 3 applicable to the defendant's
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   conduct, which all occurred within a process authorized under Title 28 that was judicially
   ordered and which was not conducted under any Title 26 authorities.


   12.    Furthermore, it was entirely disingenuous and actually fraudulent for the prosecution
   to have misrepresented the nature of Section 7403 to the jury in his closing arguments by
   holding up a small slip of paper from the Indictment or Complaint showing Section 7403,
   - claiming it was the Title 26 authority under which the seizure and sale of the property was
   conducted. However, that statue does not authorize the seizure or sale of anything, it simply
   authorizes the United State to file suit in the district court to purse judicial enforcement of tax
   claims by reducing a lien to judgment, which is then enforced under Orders of the Court issued
   under authority of Title 28, and not any Title 26 statute.

   13.    Furthermore, the seizure that was made of the home and property of the defendant, was
   made by the U.S. Marshalls Service under Order of the district court under authority of Title
   28, not Title 26.   Again, the charging statutes have no applicability to Title 28 seizures and
   sales that are iudicially ordered under that Title (28) of the Code, rather than those that are
   initiated under a Title 26 statute or authority, as plainly stated in the charging statute itself as
   being necessary in order to be charged criminally with a violation of this statute (IRC § 7212).

   14.    The seizure that was made, was made under judicial Orders of the district court that
   were issued under authority of the Title 28 statutes giving authority to the judges of the federal
   courts to enforce judgments secured by a plaintiff, and it (the seizure) was not made under
   Title 26 by the I.RS. The district court's own Orders [Exhibits B & C] and the United States'
   Motion for Order Confirming Sale and Distributing Proceeds [Exhibit A], all from the subject
   previous civil action, - No. 2:17-cv-01223 in this district court of Utah, Central Division,
   plainly identify and clearly outline the provisions of the Title 28 statutes that the judicial
   seizure and sale of the defendant's home was based on, and conducted under.


   15.    The Treasury Deposit receipt [Exhibit D = Prosecution Exhibit 43] and the
   comprehensive listing of IRS seizures from 2019, the year the defendant's home and property
   were seized and sold, which does not list the defendant's home, further support the
   understanding that it was a judicially ordered seizure and a judicial sale that occurred in
   September of 2019, and not a sale under Title 26, but under the Title 28 judicial authorities,
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   which are outside the statutory authority of the charging statutes under Title 26 addressed
   herein, i.e.: IRC Sections 7212(a) and 7212(b), in Title 26.

   16.     And again, the testimony heard in court from Gary Chapman, the Auctioneer, now
   factually confirms that Title 28 was indeed the source of the legal authority for the judicially
   ordered seizure and sale of the defendant Cromar's property, and that there were no Title 26
   statutes involved in the U.S. Marshall Service's enforcement of the court Orders. Factually,
   there was no United States employee involvement under Title 26 statutes in that seizure and
   sale action and process, which was ordered by the court under authority of the Title 28 statutes,
   Section 2001 and 2002.


                              STATUTORY CONSTRUCTION
                Federal courts are limited to the statutory construction used


   17.    Under the Constitution of the United States of America the courts of the United States do
   not possess any legislative powers.       It plainly and clearly states at Article I, Section 1,
   clause 1:

           "All legislative powers herein granted shall be vested in a Congress of the
           United States, ... ".

    18.   This means that while the courts possess the power to reject a provision, or a statute in
   its entirety, for want of constitutionality, it does not possess the power to amend, edit, alter, or
   change the law from the actual language used and written by Congress, who possesses "All
   legislative powers". The courts have a plain and simple judicial duty to apply the statutes as
   written to the circumstances, facts, and evidence of the case as presented and argued in the
   instant matter before them.


    19.    Because of the very specific language of the two statutes servmg as the legal
   foundation for the criminal Counts addressed in this Motion, applying them properly is really a
   simple matter of statutory construction, with respect to the facts on the record of the case. So
   let us begin with a review of just four of the applicable Canons of Construction at issue.
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      1. "Where the language of a statute is plain and unambiguous, courts give effect
         to the statute as written, without engaging in statutory construction."

      This is the primary step in interpretation of any statute. It is not necessarily a canon of
      construction; instead, it is the instruction of what to do when there is no need for
      interpretation. This rule has been stated a number of ways. "The literal words of the
      statute 'must be given their plain, usual, and ordinary meaning; ... [i]f the statute is
      not ambiguous, this Court does not construe it, but simply follows the law as
      written."' Alternately, "Where the language is unambiguous, there is no occasion for
      the application of rules of construction."

      The purpose for this rule, and the objective of statutory interpretation, "is to give
      effect to legislative intent." If the statutory language is unambiguous there is no need
      to consult extrinsic evidence or legislative history to determine legislative intent.

      Though there is not supposed to be any construction of an unambiguous statute,
      certain canons of construction may still apply. For example, even when a statute is
      unambiguous, "The interpretation of a statute must begin with the literal words of the
      statute; those words must be given their plain, usual, and ordinary meaning; and the
      statute must be construed as a whole." Thus, you have to look at the whole statute to
      determine the legislative intent, and not just the portion at issue.


      2. "Only where the language is ambiguous will this Court look to rules of
         construction for guidance and consider the reasonableness of proposed
         interpretations."

      This rule essentially states that once a Court determines a statute is ambiguous, the
      Court can start trying to figure out what it means. Like an unambiguous statute, an
      ambiguous statute, "must be construed to mean what the legislature intended for it to
      mean."

      So how does a statute become ambiguous? "A statute is ambiguous where the
      language is capable of more than one reasonable construction." Alternately, "a statute
      is ambiguous where reasonable minds might differ or be uncertain as to its meaning."
      However, just because a clever person can come up with more than one interpretation
      does not make a statute ambiguous. "A statute is not ambiguous merely because an
      astute mind can devise more than one interpretation of it." "[O]therwise, all statutes
      subject to litigation would be considered ambiguous." Based on this, a statute is not
      just ambiguous if a clever argument can be made about a different meaning; instead,
      there must be, "more than one reasonable construction." Interpretation of statutes is a
      question of law, and therefore for a statute to be ambiguous, a party essentially has to
      convince a Court that there is more than one reasonable interpretation.


      3. "In determining the ordinary meaning of a statute effect must be given to all the
          words of the statute if possible, so that none will be void, superfluous, or
          redundant."
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         This rule limits a court from ignoring parts of a statute in order to reach a reasonable
         construction. "It is a general rule of statutory construction that courts should not nullify a
         statute or deprive a law of potency or force unless such course is absolutely necessary."
         In other words, "A statute should be construed so that effect is given to all its provisions,
         so that no part will be rendered superfluous or insignificant." This is because, "it is not to
         be presumed that the legislature performed an idle act of enacting a superfluous statute."
         Related to this canon is the next one:

         4. "Courts, cannot insert into statutes terms or provisions which are obviously not
            there."
         As a general rule, Courts have been, "reluctant to second-guess the wisdom of a statute
         and [have] been unwilling to insert words into a statute that the Court believes the
         legislature left out, be it intentionally or inadvertently."


   20.     The statutes of the United States Code are almost always simple and clear, without
   ambiguity or conflict. The laws simply mean what the words used in them say, and nothing
   more can be read into the law, nor can anything be assumed into existence about it.                    The
   following U.S. Supreme Court cases below clearly reveal these irrefutable and incontrovertible
   facts
                                      Applicable precedents


   21.     In United States v. Goldenberg, 168 U.S. 95, (1897) the court held:


             "The primary and general rule of statutory construction is that the intent of the
             lawmaker is to be found in the language that he has used. He is presumed to
             know the meamng of the words and the rules of grammar"

   22.     In Commonwealth Natural Resources, Inc. v. Commonwealth, 219 Va. 529, 536, 248
   S.E. 2d 791 (1978), at pg. 795:

             "A cardinal rule of statutory construction is that a statute be construed from
             its four corners and not by singling out a particular word or phrase.


   23.     In Demarest v. Manspeaker, 498 US 184, 112 L Ed 2d 608, 111 S Ct. 599, (1991), the
   court held:

             "In deciding a question of statutory construction, we begin of course with the
             language of the statute."
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   24.     ill Connecticut National Bank v. Germain, 503 US 249 (1992), pg. 254, 117 L.Ed 2nd
   91 (1992), the court identifies that:

           "We have stated time and again that courts must presume that a legislature says
           in a statute what it means and means in a statute what it says there. See, e. g.,
           United States v. Ron Pair Enterprises, Inc., 489 U.S. 235, 241-242
           (1989); United States v. Goldenberg, 168 U.S. 95, 102-103 (1897);
           Oneale v. Thornton, 6 Cranch 53, 68 (1810). When the words of a statute are
           unambiguous, then, this first canon is also the last: "judicial inquiry is
           complete." Rubin v. United States, 449 U.S. 424,430 (1981); see also Ron Pair
           Enterprises, supra, at 241.


   25.     ill McNary v Haitian Refugee Center, 498 US 479, 112 L Ed 2d 1005, 111 S Ct. 888,
   (1991), the court invokes these basic standards of statutory construction again:

           "In construing a federal statute, it is presumable that Congress legislates with
           knowledge of the United States Supreme Court's basic rules of statutory
           construction."

   26.     In Reiter v Sonotone Corp., 442 US 330, 337, 60 L Ed 2d 931, 99 S Ct. 2326 (1979),
   the court again recognizes its duty to begin with the specific words of the statute:

           "As in all cases involving statutory construction, "our starting point must be the
           language employed by Congress,",

   27.     And again, in Richards v United States, 369 US 1, 9, 7 L Ed 2d 492, 82 S Ct. 585
   (1962), the court indicates that:

           "We assume that the legislative purpose is expressed by the ordinary meaning
           of the words used."

   28.   In Consumer Product Safety Comm'n v GTE Sylvania, Inc., 447 US 102, 108, 64 L Ed 2d
   766, 100 S Ct. 2051 (1980), the court again recognizes:

           " ... absent a clearly expressed legislative intention to the contrary, that language
           must ordinarily be regarded as conclusive."


   29.     And in Freytag v. Commissioner, 501 US 115 L Ed 2d 764, pp. 767 - 973, the court
   simply states:
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          "When the terms of a statute are unambiguous, judicial inquiry is complete except
          in rare and exceptional circumstances."

    30.    In Fuller v. United States 615 F. Supp. 1054 (D.C. Cal 1985), West's Key 188 quoting
   Richards v. United States 369 US 1, 9, 82 S. Ct. 585, 590, 7 L.Ed. 2d 492 (1962), the court
    expands on this point:

          "The starting point in any endeavor to construe a Statute is always the words of
          the Statute itself; unless Congress has clearly indicated that its intentions are
          contrary to the words it employed in the Statute, this is the ending point of
          interpretation."

    31.    And, this is echoed in Estate of Cowart v. Nicklos Drilling Co., 505 US 120 L Ed 2d
    379, 112 S Ct. 2589 (1992), the court wrote:

          "In a statutory construction case, the beginning point must be the language of the
          statute, and when a statute speaks with clarity to an issue, judicial inquiry into the
          statute's meaning--in all but the most extraordinary circumstance--is finished;
          courts must give effect to the clear meaning of statutes as written."


    32.   And again in Washington Market Co. v. Hoffman, 101 U.S. 112, 115, 25 L. Ed. 782, 783:

          "Words used in the statute are to be given their proper signification and effect."


    33.   AndagaininBeechamv. United States, 511 US 128LEd2d383 (1994):

          "The court's task is to determine whether the language the legislators actually
          enacted has a plain, unambiguous meaning."

    34.     And in recognition of the lack of judicial power to alter written law, in Federal Trade
    Com. v Simplicity Pattern Co., 360 US 55, p. 55

          "The United States Supreme Court cannot supply what Congress has studiously
          omitted in a statute."

    35.     And continuing, from Product Safety Comm'n v. GTE Sylvania, 447 US 102, 64 L Ed
    2d 766, 100 S Ct. 2051 (1980), the court again, consistently holds:
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          "The starting point for interpreting a statute is the language of the statute itself;
          absent a clearly expressed legislative intention to the contrary, that language must
          ordinarily be regarded as conclusive."

    36.     In United States v. Lexington Mill & E. Co., 232 US 399, pp. 409. (1914), the court
    reiterates:

          "We are not at liberty to construe any statute so as to deny effect to any part of its
          language. It is a cardinal rule of statutory construction that significance and effect
          shall, if possible, be accorded to every word. As early as in Bacon's Abridgment,
          § 2, it was said that 'a statute ought, upon the whole, to be so construed that, if it
          can be prevented, no clause, sentence, or word, shall be superfluous, void, or
          insignificant.' This rule has been repeated innumerable times."

    37.     In Busse v. Commissioner of Internal Revenue, 479 F2d 1143, the court again is
    consistent in its recognition of both its own duty, and the limits of its own power to
    create effect with its rulings:
            "Courts have no power to rewrite legislative enactments to give effect to their
            ideas of policy and fitness or the desirability of symmetry in statutes."

    38.     And, in CBS, Inc. v FCC, 453 US 367, p. 367, 69 L Ed 2d 706, p. 709, the court
    commands:

            "The construction of a statute by those charged with its execution should be
            followed unless there are compelling indications that it is wrong, especially
            when Congress has refused to alter the administrative construction, and such
            deference is particularly appropriate where an agency's interpretation involves
            issues of considerable public controversy and Congress has not acted to correct
            any misperception of its statutory objectives."

    39.   In Russello v United States, 464 US 16, 23, 78 L Ed 2d 17, 104 S Ct. 296 (1983) (citation
    omitted), and Keene Corp. v United States, 508 US 124 L Ed 2d 118, 113 S Ct. (1993), the
    court recognizes that:

            "This fact only underscores our duty to refrain from reading a phrase into the
            statute when Congress has left it out. Where Congress includes particular
            language in one section of a statute but omits it in another ... , it is generally
            presumed that Congress acts intentionally and purposely in the disparate
            inclusion or exclusion."

    40.   And in American Tobacco Co. v Patterson, 456 US 63, 71 L Ed 2d 748, 102 S Ct. 1534,
    the court again confirms it impropriety of adding to legislation, that which is not there.
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             "It is not a function of the United States Supreme Court to sit as a super-
             legislature and create statutory distinctions where none were intended."



    41.      In Ratzlaf v. United States, 510 US 135, p. 147-8, 126 L Ed 2d 615 (1994), the declares
    that:
             "... courts do not resort to legislative history to cloud a statutory text that is clear"

    42.     In Piper v. Chris-Craft Industries, Inc., 430 US 1, 26, 51 L Ed 2d 124, 97 S Ct. 926
    (1977) the court declares:

             "Going behind the plain language of a statute in search of a possibly contrary
             congressional intent is "a step to be taken cautiously" even under the best of
             circumstances."


    43.     In Water Quality Ass'n v. United States, 795 F.2d 1303 (7th Cir. 1986), where, citing and
    quoting Calamaro, the court added at p. 1309:

             "It is a basic principle of statutory construction that courts have no right first to
             determine the legislative intent of a statute and then, under the guise of its
             interpretation, proceed to either add words to or eliminate other words from
             the statute's language. DeSoto Securities Co. v. Commissioner, 235 F.2d 409,
             411 (7th Cir. 1956); see also 2ASutherland Statutory Construction§ 47.38 (4th
             ed. 1984). Similarly, the Secretary has no power to change the language of the
             revenue statutes because he thinks Congress may have overlooked something."


    44.       Therefore, by the language of the statutes themselves in this case, the charging statutes
    do not apply to the facts of this case, and both Counts 2 and 3 require a directed verdict of
    not guilty, or a judgment of acquittal, at this time.

             A court may not render a judgment which transcends the limits of its authority,
             and a judgment is void if it is beyond the powers granted to the court by the law
             of its organization, even where the court has jurisdiction over the parties and the
             subject matter. Thus, if a court is authorized by statute to entertain jurisdiction
             in a particular case only, and undertakes to exercise the jurisdiction conferred
             in a case to which the statute has no application, the judgment rendered is
             void. The lack of statutory authority to make particular order or a judgment is
             akin to lack of subject matter jurisdiction and is subject to collateral attack. 46
             Am. Jur. 2d, Judgments § 25, pp. 388-89.
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                                            CONCLUSION

    45.    A directed verdict or judgment of acquittal on Counts 2 and 3 is now required in this
    case as the charging statutes are without the necessary language to include the alleged offenses
    of the Title 28 statutes (and court authority thereunder) that the defendant may have violated or
    interfered with, which possibly could have been "punished" immediately, without trial, by the
    court at that time under the district court's contempt authority to punish any person who
    interferes with the carrying out of the Orders of the court, but which "punishment" authority is
    not provided under any Title 26 authority, as required to properly charge defendant Cromar
    with Counts 2 and 3 of the Indictment and Complaint, i.e.: under Sections 7212(a) and 7212(b)
    of a Title 26 violation, for lack of any official administration of any Title 26 statute to interfere
    with, and for lack of any Title 26 seizure or sale of property, made under authority of that
    same Title [26], to impede or hinder, as is clearly required by the plain and clear language of
    both of these charging statutes.


    46.     Finally, the district court chose not to exercise its contempt authority at the time (which
    it did possess), and not to punish the defendant further (than it had already done so by the
    taking of the home and property), and it is entirely inappropriate for the Unites States
    Department of Justice to now try to invoke these inappropriate Title 26 criminal authorities to
    try and punish the defendant further for said Title 28 acts of alleged interference, an not the
    Title 26 transgressions necessary for the charging statutes to apply, as plainly specified. The
    court should therefore now Order a directed verdict or a judgment of acquittal on both of these
    charges, Counts 2 and 3 of the Indictment and Complaint.


                                       PRAYER FOR RELIEF


    5.    Defendant now prays this honorable court will apply every word of these statutes as
    written and herein-above presented verbatim, and Order a directed verdict or a judgment of
    acquittal for both Counts 2 and 3 of the Indictment and Complaint, erroneously brought to the
    court by the plaintiff United States under authority of Sections 7212(a) and 7212(b), for lack
    of a Title 26 violation to allow the federal district court to entertain and adjudicate those two
    Counts under those two statutes, for the fatal lack of any involvement or interference of any
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    sort by the defendant with any authority of, or process under, any statute in Title 26, as
    required by two charging statutes in order to be applicable as a criminal charge against the
    instant defendant, because all of defendant Cromar's foundational conduct that is complained
    of by the plaintiff, occurred under a Title 28 judgment enforcement process that was
   judicially ordered to be conducted by the district court under authority of Title 28 statutes,
    and the seizure and sale that was conducted, was not conducted under any Title 26
    administrative process, levy, or seizure enforcement action, or authority, undertaken by any
    Internal Revenue Service employee under acting under authority of any Title 26 statute (§§
    6331, 6335, etc.) in the Internal Revenue Code.


    6.   The judicial authority of Title 28 is not the Internal Revenue Code of Title 26, and the
    Counts are not properly brought as charges in this case because the Title 28 facts about the
    defendant's behavior and actions, don't violate the Title 26 laws, because Title 26 was not a
   foundational authority under which the enforcement actions occurred, being ordered by the
    court under its authority under Title 28.

            Presented in honor in the year of our Lord and in His name the 3rd day of June, 2024.




    Paul-Kenneth: Cromar
    As per docket #25 of September 27, 2023 "I elect to proceed under Constitutional Common
    Law."


    Exhibits

     A. United States 'Motion for Order Confirming Sale and Distributing Proceeds
        dated March 41\ 2020, from Case No. 2:17-cv-01223 in this district court of Utah
     B. Order of the Court for Foreclosure and Judicial Sale dated March 20, 2019
     C. Order of the Court Confirming Sale and Distributing Proceeds dated April 15, 2020
     D. Receipt for Treasury Deposit dated Jan. 21, 2020
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                                    CERTIFICATE OF SERVICE
    I hereby certify that on the 3rd day of June, 2024, I personally placed in the United States
    Mail to the individuals named below a true and correct copy of Defendant's Motion for a
    Directed Verdict or Judgment of Acquittal on Counts 2 and 3

    TRINAA. HIGGINS
    PATRICK BURNS
    MEREDITH M. HAVEKOST
    Attorneys of the United States of America
    111 South Main Street, Suite 1800
    Salt Lake City, Utah 84111
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                        EXHIBIT A
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   RICHARD E. ZUCKERMAN
   Principal Deputy Assistant Attorney General

   RYANS. WATSON
   Trial Attorney, Tax Division
   U.S. Department of Justice
   P.O. Box 683, Ben Franklin Station
   Washington, D.C. 20044-0683
   Telephone: 202.514.5173
   Ryan. Watson@usdoj.gov

                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

   UNITED STATES OF AMERICA,

                Plaintiff,                              Case No. 2:17-cv-01223-RJS

                    V.

   PAUL KENNETH CROMAR,
   BARBARA ANN CROMAR,                                   UNITED STATES' MOTION FOR
   UTAH HOUSING FINANCE AGENCY,                          ORDER CONFIRMING SALE AND
   UNIVERSAL CAMPUS FEDERAL CREDIT                       DISTRIBUTING PROCEEDS
   UNION,
   STATE OF UTAH, TAX COMMISSION,
   AND UTAH COUNTY, UTAH

                Defendants.


          The United States of America hereby moves for an order from the Court confirming that

   the sale of the real property located at 9870 N. Meadow Drive, Cedar Hills, Utah 84062-9430

   was conducted by the United States in compliance with 26 U.S.C. § 7403, 28 U.S.C. §§ 2001-

   2002, and the Court's March 20, 2019 Order of Foreclosure and Judicial Sale (ECF No. 104).

   The United States further requests that the Court direct the Clerk of Court to distribute the

   proceeds of that sale as follows:

           1.       First, by check made payable to the "Internal Revenue Service" in the amount of

   $683.80 for costs of sale, mailed to:

                    Internal Revenue Service
                    c/o Gary Chapman
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                   IRS Property Appraisal & Liquidation Specialist
                   1201 Pacific Ave., Suite 550, MIS W802
                   Tacoma, WA 98402


          2.       Second, by check made payable to Utah County, Utah in the amount of

   $2,114.49, as of March 3, 2020, plus an additional $0.44 for each day past March 3, 2020,

   mailed to:
                   Utah County Treasurer
                   100 E. Center Street, Suite 1200
                   Provo, Utah 84606


          3.       Third, by check made payable to the "United States Department of Justice," with

   "United States v. Cromar, et al., Case No. 2: 17-cv-01223" written in the memo field, of the

   remaining proceeds from the sale, mailed to:

                   Department of Justice, ATTN: TAXFLU
                   P.O. Box 310 -Ben Franklin Station
                   Washington, DC 20044

                                          I. BACKGROUND •.

          The United States filed its Complaint in this matter on November 22, 2017. (ECF No. 2.)

   The Complaint sought to reduce federal tax assessments against Paul Kenneth Cromar to

   judgment and to foreclose related federal tax liens on real property located at 9870 N. Meadow

   Drive, Cedar Hills, Utah 84062-9430 ("the property"). The property is more-particularly

   described as:

                   Lot 3, Plat "C", Amended North Meadows Estates Subdivision, according to the
                   official plat thereof on file in the office of the Recorder, Utah County, Utah.


          The Complaint also named Barbara Ann Cromar, Utah Housing Finance Agency

   ("UHF A"), Universal Campus Federal Credit Union ("UCFCU") , State of Utah, Tax

   Commission, and Utah County, Utah as parties with a potential claim or interest in the property

   pursuant to 26 U.S.C. § 7403(b ). UHF A and the State of Utah each filed a Disclaimer of Interest

   (ECF Nos. 22, 25) and were dismissed from the case (ECF No. 34, Order Granting Motion to

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   Dismiss Parties). Utah County answered the complaint and entered into a Stipulation (ECF No.

   22) with the United States, in which the County asserted an interest in the property and agreed to

   the priority of its interest vis-a-vis the United States' interest in the event the property should be

   sold. The Court approved the Stipulation on May 2, 2018 (ECF No. 36).

           Defendants Paul Kenneth Cromar, Barbara Ann Cromar, and UCFCU did not properly

   appear in this matter, and on February 14, 2019, the Court entered Default Judgment against

   them. (ECF No. 96.) On March 20, 2019, the Court entered an Order of Foreclosure and Judicial

   Sale (ECF NO. 104), directing the sale of the property. The Order of Foreclosure and Judicial

   Sale provided that "[a]ll persons occupying the Subject Property shall leave and vacate

   permanently the property no later than 15 days after the date of this Order, each taking with them

   his or her personal property ... when leaving and vacating." (ECF No. 104.) Paul Kenneth

   Cromar and Barbara Ann Cromar did not comply with the Order, and on June 25, 2019, U.S.

   Marshal evicted them from the premises. (Declaration of Gary Chapman 15).

           The property was advertised for sale in accordance with the Order of Foreclosure and

   Judicial Sale. (Chapman Deel. 14). The Provo Daily Herald published a Notice of IRS Judicial

   Auction Sale for four weeks prior to September 10, 2019. (Chapman Deel. 14; Ex. A, Proof of

   Publication).

           On September 10, 2019, the property was sold at a public auction conducted by Gary

   Chapman, an Internal Revenue Service Property Appraisal and Liquidation Specialist ("PALS"),

   at the United States District Court for the District of Utah. (Chapman Deel. 16). The successful

   bidder bid $330,000 and deposited $31,000 with the Court. (Chapman Deel. 17). On January 22,

   2020, the remaining $299,000 was deposited with the Clerk of Court. (Chapman Deel. 17).

           The delay in making the second deposit with the Court was caused by the successful

   bidder's difficulty in obtaining financing to provide the additional $299,000 purchase price.

   (Chapman Deel. 17). The bidder's difficulty in obtaining financing was caused, in part, by Paul

   Kenneth Cromar's violation of Paragraph 8 of the Order of Foreclosure and Judicial Sale, when

   he recorded a frivolous !is pendens against the property on June 28, 2019. (Watson Deel. 15-6;

                                                    -3-
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  Ex. H, Email with attached lis pendens). He has also posted signs on the property, harassed

   potential financiers when they visited the property, and harassed the bidder at his home.

   (Chapman Deel., 8-9; Ex. B, Email from Nathan Eddington).

          The expenses incurred in the sale of the property totaled $683.80, consisting of $556.80

   for the newspaper placement and $127.00 for a locksmith. (Chapman Deel., 10)

                         II. REQUEST FOR CONFIRMATION OF SALE

          Under 26 U.S.C. § 7403, the Court is granted authority to subject property to the payment

   of unpaid federal taxes. The general procedures to be followed in conducting a public sale of real

   property under Court decree are set forth in 28 U.S.C. §§ 2001-2002. In pertinent part, Section

   2001 provides:

      (a) Any realty or interest therein sold under any order or decree of any court of the
          United States shall be sold as a whole or in separate parcels at public sale at the
          courthouse of the county, parish, or city in which the greater part of the property is
          located, or upon the premises or some parcel thereof located therein, as the court
          directs. Such sale shall be upon such terms and conditions as the court directs ....


   28 U.S.C. § 2001. Section 2002 provides, in relevant part, that the public sale be

   advertised in the following manner:

         A public sale of realty or interest therein under any order, judgment or decree of
         any court of the United States shall not be made without notice published once a
         week for at least four weeks prior to the sale in at least one newspaper regularly
         issued and of general circulation in the county, state or judicial district of the
         United States wherein the realty is situated ...
   28 U.S.C. § 2002.

          As described in PALS representative Gary Chapman's Declaration, the sale was

   conducted in accordance with 28 U.S.C. §§ 2001-02 and the corresponding provisions of the

   Court's Order of Foreclosure and Judicial Sale. The full purchase price for the property has been

   paid into the Court's registry. Accordingly, the United States has properly effected the sale of the

   property, and the sale should be confirmed. The United States further requests that the Court, in

   its Order confirming the sale, specifically make note that the property was sold free and clear of


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   all liens on the property, including the frivolous !is pendens that Paul Kenneth Cromar filed

   against the property on June 28, 2019. Paragraphs 7(a) and 7G) of the Court's March 20, 2019

   Order of Foreclosure and Judicial Sale state:

                  (a) Except as otherwise stated herein, the sale of the Subject Property
                      shall be by public auction to the highest bidder, free and clear of all
                      liens and interests of parties to this action, with the proceeds of such
                      sale to be distributed in accordance with the priority of the lienholders
                      set forth in paragraph 12, below.

                  (j) Upon confirmation of the sale or sales, the interests of, liens against,
                      or claims to the Subject Property held or asserted by the United States
                      and any other parties to this action or any successors in interest or
                      transferees of those parties shall be discharged and extinguished. The •
                      sale is ordered pursuant to 28 U.S.C. §2001. Redemption rights under
                      state or local law shall not apply to this sale under federal law.

   (ECF No. 104.) Additionally, Paul Kenneth Cromar's filing of the !is pendens is in direct

   violation of this Court's Order, which states: "[u]ntil the Subject Property is sold, Paul Kenneth

   Cromar ... not record any instruments, publish any notice, or take any other action that may

   directly or indirectly tend to adversely affect the value of the Subject Property or that may tend

   to deter or discourage potential bidders from participating in the public sale, nor shall he cause or

   permit anyone else to do so."

          The property in this case was sold in conformance with the Court's March 20, 2019

   Order of Foreclosure and Judicial Sale, despite Paul Kenneth Cromar's filing of the !is pendens

   on June 28, 2019. Accordingly, upon confirmation of the sale, "the interests of, liens against, or

   claims" against the property of Paul Kenneth Cromar, including the !is pendens, "shall be

   discharged and extinguished." (ECF No. 104 ~j.)

                                III. DISTRIBUTION OF PROCEEDS
          In accordance with the Court's Order of Foreclosure and Judicial Sale, the United States

   requests that the Court direct the Clerk of Court to distribute the deposited funds in the manner

   set forth on pages 1-2 of this Motion.



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          PALS representative Gary Chapman, on behalf of the IRS, incurred $683.80 of expenses

   in the sale of the property, consisting of $556.80 for the newspaper placement and $127.00 for a

   locksmith. (Chapman Decl., 10; Ex. C, Locksmith Bill; Ex. D, Publisher's Bill). On May 1,

   2018, the United States and Utah County stipulated that "pursuant to 26 U.S.C. § 6323(b)(6), any

   Utah County ad valorem property tax liens upon the Subject Property that are entitled to priority

   over prior security interest under Utah state law will have priority over the federal tax liens at

   issue in this case." (ECF No. 32, 4.) On March 3, 2020, in response to the United States'

   inquiry, counsel for Utah County confirmed via email that property taxes in the amount of

   $2,111.49 are owed on the property. (Watson Deel., 3-4, Ex. E, Email from Cort Griffin; Ex. F,

   Utah County Tax Summary). The per diem accrual of interest on the unpaid balance is $0.44 per

   day. (Watson Deel., 3-4, Ex. E, Email from Cort Griffin).

          On February 14, 2019, the Court entered default judgment (ECF No. 96) against Paul

   Kenneth Cromar on the United States' claims for unpaid tax liabilities in the amount of

   $1,053,028.65, as of November 21, 2017, plus statutory interest and other additions under 26

   U.S.C. §§ 6621 & 6622. The judgment vastly exceeds the purchase price of the property.

                                          IV. CONCLUSION
          For the above-stated reasons, the Court should grant the foregoing Motion, confirming

   that the sale of property was conducted by the United States in compliance with 26 U.S.C.

   § 7403 and 28 U.S.C. §§ 2001-2002 and in accord with the Court's March 20, 2019 Order of

   Foreclosure and Judicial Sale. Furthermore, the Court should direct the Clerk of Court to

   distribute the proceeds of that sale as follows:

       1. First, by check made payable to the "Internal Revenue Service" in the amount of $683. 80

          for costs of sale, mailed to:

                  Internal Revenue Service
                  c/o Gary Chapman
                  IRS Property Appraisal & Liquidation Specialist
                  1201 Pacific Ave., Suite 550, MIS W802
                  Tacoma, WA 98402


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          2.      Second, by check made payable to Utah County, Utah in the amount of

   $2,114.49, as of March 3, 2020, plus an additional $0.44 for each day past March 3, 2020,

   mailed to:
                  Utah County Treasurer
                  100 E. Center Street, Suite 1200
                  Provo, Utah 84606


          3.      Third, by check made payable to the "United States Department of Justice," with

   "United States v. Cromar, et al., Case No. 2: 17-cv-01223" written in the memo field, of the

   remaining proceeds from the sale, mailed to:

                  Department of Justice, ATTN: TAXFLU
                  P.O. Box 310-Ben Franklin Station
                  Washington, DC 20044


   Dated: March 4. 2020                           Respectfully Submitted,

                                                  RICHARD E. ZUCKERMAN
                                                  Principal Deputy Assistant Attorney General

                                                  Isl Ryan S. Watson
                                                  RYANS. WATSON
                                                  Trial Attorney, Tax Division
                                                  U.S. Department of Justice

                                                  Attorneys for the United States ofAmerica




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                                         CERTIFICATE OF SERVICE

           I hereby certify that, on March 4, 2020, I served the foregoing as follows:

   ViaCM/ECF:

       M. Cort Griffin
       cortg@utahcounty.gov
       Attorney for Utah County

   Via Email 1:

        Paul Kenneth Cromar
        Barbara Ann Cromar
        kencromar5@gmail.com


                                                                  Isl Ryan S. Watson
                                                                  Trial Attorney, Tax Division
                                                                  U.S. Department of Justice




   1 The Cromars no longer reside at the address on file with the Court and have not updated their address. Service via

   email is being made to an email address provided to counsel for the United States by Mr. Cromar.
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                                                                   Page 1 of 3 25 of 77



   RICHARD E. ZUCKERMAN
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   RYANS.WATSON
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   U.S. Department of Justice
   P.O. Box 683, Ben Franklin Station
   Washington, D.C. 20044-0683
   Telephone: 202.514.5173
   Ryan. Watson@usdoj.gov

                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

   UNITED STATES OF AMERICA,

               Plaintiff,                               Case No. 2:17-cv-01223-RJS

                   V.

   PAUL KENNETH CROMAR,
   BARBARA ANN CROMAR,                                  DECLARATION OF GARY CHAPMAN
   UTAH HOUSING FINANCE AGENCY,
   UNIVERSAL CAMPUS FEDERAL CREDIT
   UNION,
   STATE OF UTAH, TAX COMMISSION,
   AND UTAH COUNTY, UTAH

               Defendants.


          I, Gary Chapman, pursuant to 28 U.S.C. § 1746, hereby declare that:

          1.       I am a Property Appraisal and Liquidation Specialist ("PALS") with the Internal

   Revenue Service, and I am stationed in Tacoma, Washington.

          2.       The name Gary Chapman is a pseudonym. This pseudonym has been registered

   with the IRS in accordance with the IRS's procedures, and I have followed all applicable IRS

   procedures governing the use of pseudonyms.

          3.       My official duties as a PALS include the sale of property seized or otherwise

   obtained by court order on behalf of the United States of America. Pursuant to an Order of Sale

   dated March 20, 2019, the Internal Revenue Service conducted a public auction sale of property
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   against which the Court ordered the foreclosure of federal tax liens. In support of the United

   States' Motion for Order Confirming Sale and Distributing Proceeds, I submit the following

   Declaration.

          4.      For four weeks prior to September 10, 2019, a Notice of Sale was published in the

   classified section of the Provo Daily Herald, a newspaper which has general circulation in Utah

   County, the county in which the real property at 9870 N. Meadow Drive, Cedar Hills, Utah

   84062-9430 ("the property") is located. The notices were published on July 18, 2019, July 25,

   2019, August 1, 2019, and August 8, 2019. The Publisher's Proof of Publication is attached as

   Exhibit A.

          5.      On June 25, 2019, Paul Kenneth Cromar and Barbara Ann Cromar were evicted

   from the property by the United States Marshal.

          6.      On September 10, 2019, at the United States District Court for the District of

   Utah, the United States offered the property described in the Notice of Sale for sale to the highest

   bidder at public auction.

           7.     The successful bidder, Nathan Eddington, bid $330,000 and paid a deposit of

   $31,000. I received the balance of the purchase price on January 21, 2020 and the funds were

   sent to the Court for deposit. Receipt of the second deposit took several months while Mr.

   Eddington sought financing for the remaining balance.

           8.     On October 14, 2019 I received an email from Nathan Eddington informing me

   that Paul Kenneth Cromar went to Nathan Eddington's personal residence and gave him

   documents purporting to nullify the sale. A copy of the email (with attachments) is attached as

   ExhibitB.

          9.      I am also aware that Paul Kenneth Cromar has posted signs on the property and

   has been present at the property when potential lenders have visited the property.

           10.    The Internal Revenue Service incurred a total of $683.80 in expenses related to

   the sale of property, as follows:



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                  a. Charges incurred for changing the locks on the property from Alpine Lock

                      totaling $127.00. The locksmith bill is attached as Exhibit C.

                  b. Charges incurred from Nationwide Newspapers for the legal advertisement for

                      selling the Subject Property totaling $556.80. The publisher's bill is attached

                      as Exhibit D.

          11.     The check for the reimbursement should be made out to "Internal Revenue

   Service" and sent to:
                           Gary Chapman
                           IRS Property Appraisal & Liquidation Specialist
                           1201 Pacific Ave, Suite 550, MIS W802
                           Tacoma, WA 98402


   I declare under the penalty of perjury that the foregoing is true and correct.




   Executed this 4th day of March, 2020.




                                                   IRS Property Appraisal & Liquidation Specialist




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  Case 2:23-cr-00159-HCN-DBP   Document 297 Filed 06/03/24 PageID.4699 Page 28 of 77
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AFFP
                                                                                                                         Exhibit
                                                                                                                                A
42662-IRS JUDICIAL AUCTION



Affidavit of Publication

STATE OF UTAH}                 SS                             IRS JUDICIAL AUCTION SALE
                                                              Pursuant to an Order of Sale entered in United States vs. Paul Kenneth & Barbara
COUNTY OF UTAH}
                                                              Ann Cromar el al Civil No. 2-17-cv-01223 United States District Court for the District
                                                              of Utah, the United States will offer to sell at public auction the right, title, and
                                                              interest of Paul Kenneth & Barbara Ann Cromer, in and to property located in Cedar
                                                              Hills, Utah County, Utah. The sale will be held by public auction
Nancy Holcomb, being duly sworn, says:                        Date of Sale: September 10th, 2019
                                                              Time of Sale: 11 :O0am with registration beginning at 10:30am
                                                              Locatlon: US District Court, 351 SW Temple, Sall Lake City, UT 84101
That she is Legals Billing Clerk of the Daily Herald, a       Property Offered: 9870 N. Meadow Drive, Cedar HIiis, Utah
newspaper of general circulation, printed and published in    Minimum Bid: $245,000.00
Provo, Utah County, Utah; that the publication, a copy of     Property may be viewed at: Drive by only.
which is attached hereto, was published in the said           This Is not an advertisement of a sale of seized property. This information notice is
                                                              only regarding a sale being conducted by the Internal Revenue Service as a result of
newspaper on the following dates:                             the foreclosure of an Internal Revenue Service Federal Tax Lien by the Department
                                                              of Justice.
July 18, 2019, July 25, 2019, August 01, 2019, August         This property shall be offered for sale at public auction, free and clear of all liens and
08,2019                                                       interests of the parties to this action.
                                                              Terms of Payment: Deferred: 10% odue at time of acceptance of highest bid.
                                                              Remaining balance due NL T October 10th, 2019.
                                                              All payments must be by certified check or cashier's check. Make check payable to
                                                              the United States District Court of Utah.
                                                              For more information go to www.irsauctions.gov or contact Gary Chapman
                                                              (360)536-6602.
That said newspaper was regularly Issued and circulated       Legal Notice 42662 Published in The Daily Herald on July 18, 25; August 1, 8, 2019.
on those dates. Same was also published online at
utahlegals.com, according to Section 45-1-101 - Utah
Code Annotated, beginning on the first date of publication,
for at least 30 days thereafter and a mi • um of    days
prior to the d te ot chedul d sal .
SIGNED:



Subscribed to and sworn to me this 8th day of August
2019.              - --         -




My commission expires: September 10, 2022




00010503 00042662

Nationwide Newspapers-Legals
Nationwide Newspapers-Legals
6157 Masters Blvd
ORLANDO, FL 32819
      Case 2:23-cr-00159-HCN-DBP   Document
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                                                       Filed 03/04/20 Page 1 ofPage
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Watson, Ryan (TAX)

From:                           Nathan Eddington <nathan.eddington8@gmail.com>
Sent:                           Monday, October 14, 2019 9:40 PM                              Exhibit
To:                             gary.chapman@irs.gov                                               B
Cc:                             Watson, Ryan (TAX); Bill Markham
Subject:                        Ken Cromar Visit 10-14-2019
Attachments:                    Cromar 10-14-2019.PDF



Included on this email:
Gary Chapman--IRS
Ryan Watson--DOJ
Bill Markham--Cardinal Financial (Lender)


On 10-14-2019 Paul Kenneth Cromar and his friend/neighbor Bill D'Angelo came to my residence and asked
me what was going on at the house. Cromar then provided me papers with the title page as a warning and said
the home is his and he will protect it, see the attached documents.

I just wanted to make you all aware of what's going on. My father asked me to call the local police. -They will be
arriving shortly and trespass Paul from the property I am currently living at. Attached is a video from our
interaction if you're interested.

Thank you all!


Iii _cromar Visit.MO~
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          ~
                                                                                           '.,~ (
                         FirstAmerican
               -,~


         1795 E 1450 s, STE 100 ,
         CLEARFIELD UT 84015 °·

          UTAH




          OQ/27/2019




                                    ,PAW!:: KENNETH CRQMAR/BARBARA ANN CROMAR
                                  ,,,·~aio N MEADOW OR·              ,·,
                                     CEDAR HILLS UT 84062        '·'



                                                       \.,,).,
                                                         '~,:-     ,_.·
                                                                 19'

         Order No:   6004201



                                                                                                                                    ·,.,;J.,



                           .,
'~, •• Enclosed please find
'·,·;)
                                         2 attach.ed ii~c:uments.




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           FirsfAmerican Title Insurance Company
         .·-; -~, ,..,.                      i:1




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Case 2:23-cr-00159-HCN-DBP Document 297 Filed 06/03/24 PageID.4703 Page 32 of 77
         Case 2:17-cv-01223-RJS Dj)cument
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                                           117-3 Filed 03/04/20 ,fag~ 1" of13
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                                                                                                                                                                                          s·.f          '>,
                      Commitment Number: 60042dl,                                                             - ••                                                                 c;~
                      09/27/2019                              . '\



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                      COMMITMENT ~~ TlTLE INSURANC~ PREPARED FOR:                                                                                                              Q
                                      '-"   i:i,,;           "\..,                                                    • \,.   \l                                 I,'

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                                                                                9~70 North Meadow Drive, Cedar Hills, UTA4062
                                                                                ..              ; , ~ ' .61"'                                                                                     ;,, -
                                                                        /.i..        ,'..'...   -~-       - -                                                              ~                       ~
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                                      LISTlNG• AGENT                                                                                                                                                   -sEiUN-ti~c;'fti'f-~----
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                                                                                                                                                                                         ,, ·,; '''BUYER/SELLE·R,;:'
               '•.J      I/                                                                                                                                                                                                    fr,
                                                                                                                                                        -- - __::;; __ i: ,__··~                 -· -
         ai'riiirnii(Financial -                                                                                                           BUYER/SOR.ROWER:
         J3i11Markham                                                                                                                      Int~rhal
                                                                                                                                           • _:;.
                                                                                                                                               -~1,
                                                                                                                                                    ·Revenue Service
          2152 N Hill Field Road,"Suite 3                                                         '~"'-_,                           -_     ,{~. • _--                                                              :, !c


          Layton, UT 84041/".t .•,,                                                                             ~:/                       ':sELLER/OWr-{ER: , '; :!<.
          _(801)207-9604                                                                                                           •··, •. -Paul Kenneth 'trofuar ani:I Barbanh\nn Cromar                                                                                                                       ,
                                                                                                                                         1.'.       --------~--                             .--.-•--------------•--+--~----•-                                                                            ,-,~~?._:~\'-,!-.


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       Case 2:23-cr-00159-HCN-DBP Document 297 Filed 06/03/24 PageID.4704 Page 33 of 77
                Case 2:17-cv-01223-RJS D9cument 117-3 Filed 03/04/20 page ~,of 13
                                                                                                                                                                                                                 ·•,              ._.<:   :, . -      .




                                                                                                                    ALTA Commitm~rat fqr/Title 'Insurance
                                                            First American Title ISSUED BY                                                                            <)                                                                                      lj   :}



                                                                                                                    First Ameri~n·   Title Insurance Cpmpany
                                                                                                                            •   ,,--                 :>?-•-:'_ ....



                 Commitment                                                                                         File ~pf:14:253-6004201

                                                                                                                    ;:_\ ,' .:-, ,,:·<";J                                           .,'\                  .-.,    J;,     •



                                                                                       COMMITMENT FOR.llTLE INSURANCE
                                                                                                                    Isst-~d ~~,-                                           '"       • ,                            ....
                                                                                                               -'                                                     .. ?.._                     ~              ~            ,
                                                                      ffRST AMERIEJtN TITLE INSURANCE COMl',t,NY
                                                                                                                      NOTI~E
':,        IMl>ORJANT-READ CAREFULLY: THIS COMMITMENT·ISJ~N.,<5FFER TO ISSIJE ONE MOR~Tm;.E,)NSURANCE                                                                                                 OR
       - - POUCIES. ALL CLAIMS OR REMEQ,l~?SOUGHT AGAINSTTft~COMPANY INVQLVINGTHE co~NT:OFTHIS
      '. ! COMMITMENT OR THE pouq ~:ust BE BASED SOLELY IN CbNTRACT.    ,.. •
      ' THIS COMMITMENT IS NQ~N A~STRACT OF                                                              TfTh.f
                                                          REPORT OF THE CONDITION OF TlJ½E, LEGAL OPINION,
        OPINION OF TITLE, q_R1,Q1l:fER REPRESENTA~9"1 6)= THE STATUS OF TITLE. THE P~pQ;DURES USED BY THE
        COMPANY TO DETERM!NE INSURABILITY OF.,THE TITLE, INCl,UDING ANY SEARCH ~NP.EXAMINAnON, ARE
        PROPRIETA~Y TQ nJE COMPANY, WERE PERFORMED SOLEL'(;FOR THE BENJ:~,QF.-11-tE COMPANY, AND CREATE NO
        EXTRACON"fR.AqtlAL LIABILITY TO ANY. PERSON, INCLUDING A PROPOSED:'I,N~UREO.           "·
          THE COMPANY'S OBLIGATION UNDER THIS COMMITMEN._T IS TO ISSUl:~A POi.lCY TO A PROPosib'INSURED
          IDENTIFIED IN SCHEDULE A INAC:C:ORDANCE WITH ;ft-IE TERMS AND,PRQVISIONS OF TH,IS'~QMMITMENT. TH~,,-,,"'
          COMPANY HAS NO LIABILITY••Oif OBUGATION INVOLVING THE CONTENT OF THIS C0MMITMENT TO AijY OTHER
          PE~SON.              ' ?·:,           •. '              • , ,,             '.           ·' C; {) "
  " > '·-.                                                                                 ,C,OMMITM~T 10 ISSUE POLICY .
        \_J,,                                         ,=•                              .   -:~:- 0- .,    \:        \'-\."     \~--         -·~                                 ~         •   ,                                                 :.-   ;''¼"


       . Subject to the Notice; Schedule B, Par,t'I~Requirementsi Schedule B, Part II-~~ptions; and the,<;ommitment Conditions,
         First ~merf,f.i!n Tttle Insu~nce tiJ,inpany, a Nebra~ka, Corporation (tl'!Ef'1Company"),1 commlts''to issue the Policy
         ~~Jo'the terms and provisions of this 0:imn(it;ment. This Comrn~nt is effective ~s of the Commitment Date
         shown 1n··Schedule A for each Policy desc.ribed in'Sq,edule A, only when the Company has entered in Sq,edule A both the
         specified dollar amount as the-Proposed ,Ppliq;,,Amobnt and the. ri~me of the Proposeq.Jn.sured.         ·: ,
         If all of the Schedule B,if'; 1-Requirem~:~ not been ~et'within six ,fllOnths~ the Colllfni~t ~ate, this
        -Commitment terminates and the Company1s liability and Obligation end.               ,~-
                                            ,.                   '




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          'If this ja~t~ created electro.._icau'y,-.~ constitutes an ortgt~i ~ , ,
                                'i;\\,:,~.::                    \:'    .,,,~/·                                                        ;~,             - •• ~
                                   -:-                                                                                                            ·=;.-:.


                n,~'~'ge Is only a pa)iof a 2016 liL TA@ Commitmfint !pr Title I,nsufante &ued by Rrst AmeriuJ!i' Title Insuraf!fJt- d,mpany. This Commitment Is not
       g,· yalid without ti1~ Noti:e; 1(1/'commament to lsslle Mir;'/; tf1e Wf111!1J'flifent Conditions; Sr.!;rlfY!e A; scped~(e.JfPart1-Requireinents; Schedu!eJ!Jpart
        , JI-Exceptions.                       • ,· :, .                                                                                          .         .•c•···                  ..           ,,<\·                                     .                           . ..   _
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 Case 2:23-cr-00159-HCN-DBP    Document
          Case 2:17-cv-01223-RJS        297117-3
                                  DqcumeQt   Filed 06/03/24   PageID.4705
                                                   Filed 03/04/20 page 6,ofPage
                                                                            13 34 of 77
                                                                      COMM_ITMEITT CONDITIONS

  1, DEFINITTONS                                                  .
         (a) "Knowledge" or "Known": ActualQr imputed knowledge, but not constructjye n9tite Imparted by the Public.Mcprds.
         (b) "Land": The land described in Schedule A and affixed improvements that i5y law constitute real property,,The term "Land"
                  does not include any prop'erty beymid the lines of the area described in Schedule A, nor any right, titl~ interest, estate, or
                  easement in abutting streets, roads, avenues, alleys, lanes, ways, or waterways, but this does ilotrnotlify or limit the extent
                  that a right of access to and from the Land is to be insur~'.by th~ Policy.                       . , ••. •              . "        .
         (c) "Mortgage": A mortgage, deed of trust, or other secu~ty in5!=ru1T1er\t1 induding one evidenc:;~8.by electronic:means authotjzed
                  by law.      .,..         .,                           •• •. • • ~~·                            ••          .
          ( d) "Policy": Each coritract of title Insurance, in a form adopt~d by'.tfj'e American Land Title Association,. l~ed or to be issued l:ly
                  the Cqmpany pursuant to this Commibnent                     ·~     ••           .      •              .      • •. ••                     ., •
         ( ~t "Prori1~~Jnsured": Each person identified •in Sdl~dule A as the Pr~posed .~red of ~ch                                  ~..olic;y'
                                                                                                                          to ~ issued pu,-suartt'.Jo this
              •· Comrnihnent.                                   ,,                      "•    :,·           • , ;, • ~        •                      •. /;
          (f) .· "Propo.~ed'Policy Amount": Each dqllar amount specified in Schedule Aas the Proposed Policy Amount of each P.olicy,to be
               '.:fssued pl.Jrsuant to this Commitmerit'1                                .. .                         .                        ·:•..
          (g) ':Public Records": Records establisQed under state stal:l,lt~ at tb~ 'commitment.Date for- tne purpose of imparting constructive
         ·.       notice of matters relating to real propeity to purchasers far vaiue and without Knowledge.               .,     -.. • •• •
          (h) ''Title": The estate or interestdejctlbed In Schedule A.                                                             "

  i      If all of the Schedule B, Part:r4~uirements have not been met within the til:J1¢ ~riod specified in the Commitment to Issue
         Policy, this Commitmerrt:,Jeri\iinates and the CommirW's liability and obligatiortend.
                                  ·-~, ·: ·•-"       -{•               (   ·(\       \                 :;                     .- .. -,
  3,     The Company's liabllit:Y and obligation is limite~ by and this Commitment- is not valid withoµt:/ •
         (a) the Notice; •.• . ,,                       · •• • •            <                      .• . .
         (b) the Ca:mmitn'(ent to Issue Policy;           •                                        "
         (c) the Commi!Jnent Conditions;
                                                                                        1
         (d) Schedule A;                                                                };
         (e) Schedule B, Part I-Requi$nehts; and
         (f) Schedule B, Part II-Ex~ptions,

 . 4. .ft>MPANY'S ~GHT·JQ:~kEND                       ~·. .                 .· .l (,          ,        •••           ':. ,  \    .,

     ·.,. The Company may.,aniend this Commitment ,arru,y time, •If the GbnJpany amends this Commitment to add a defect, lien,
   . \ enrnmbrance, adv~rse claim, or other ma~f recorded in                             tl1e
                                                                      Ptlblic Records prior to                      the
                                                                                                 Commitment Date,;.l:thy ll~bility of the
          Company is limited by Commitment C9ndltlon 5. The ColJll)any shall not be liable f~:~ny other amendment to this Commitment.
                                                                                                               r·
   5.        LIMITAT{ONS OF LIABILITY                  .        :., . ;.i,, _ '               ..... •                ''
            (a) Th~ Company's liability under Commitment Conditfbn 4 is limited to thEf Proposed Insured's actual expenseJncurred in the
                   interval between the Company's delivery to the Proposed Insur~d of the Commitment and the delivery of the amended
                   ~ommitment, :esul~ng          from
                                                   the Pro~9,1h~~ted's good fa\~ r~liance to:                     ·• • •            , •
                   (1) comply with.tile Schedule B, PartT~!;!qu1rements~              •                    .. . ,
                   (ii) eliminate, wtt;li the Company's writterf consent, any. !:;d'ledule B, Part rt-:-Exceptions; or                              )
                   (iii) acquire the Title or create the Mortgage covered by this Commitment. •.. '                         .                _. ,"2 •.,
             (b) The Company shall not be.HabJ<;! i:mder Comrpitment Condition S(a) if the Proposed Insured tequested the amendment or had
                   Know,fedge,of the matter ahsl.,did not notify tl)~.lolllpany about it in "'1riting.              , •" •        ,, ':'cf',            . •
             ( c) I,he.'.(;ompahy will only,.h~~ liabilify under Commitment Condition 1 ifthe Proposed Ins,ured would not naye·lncurr~Q.'~~ ••
                   't)(p'ense had the_ Co~~ent inducted the added matter ·~,h~n/J!J.~ Commit'!.len,ty,ras fitst de!ivered tq, tlie Prop,ised Insured .
            .(~)·,.Toe Company's haQU1ty shall not exc~d the lesser of the Proposetl Insured'sactual e)(pense mcurred,1n good ra1U, and
        ', ·,~-· ' described in 't:qmw!tment Conditions' S(a)(i) through S(a)(iiifor the Propp,sed'Policy Amount. . '                             C   •• •••   ,:, •   \



             (e) The Company ·§.hall not be liable fqr,the content ofthe Transaction Identification Data, If any, ·• •             \ ,
             (f) In no event shall the Company: p~ ·obligated to issue t:he Policy referred to. in this Commitment unless all,;of the Schedule B,
                   Pait I~equirements ha~,r beEminet to the satisfacHorrof the Compaw, ::.. ••                          ··,   ,;•
             (g) In arw event, the Compal))(sliability is limited by the terms arid prClvislons of the Porlcy:· ,
                   -~,;-                         •         -~_r              ~-\·:              ·-~~-.---.;,              U




    Thiff?!l!e is only a pa_rt di? ?cP16 A~'rA@ Cammilrne'!,(IDf:·Title lMf1'!1no/:~.kY first America~ T,t/e Jn511ra~ r:l:/mpanr; Thif Commitment i!fJJ,Ot
   .ya/@ without the Notice; tlie Conlmitment to Issue Pdhcy; the Commitment Conditions; Schedpk A; Schedule.B,:Part J,Requ1rements; Schedu~ 8, Part
':' :ficExceptions.    ~·    '" (;. •                                                      , .. ,2;: ,,    .,. • .0,,, ••                         .. "'·
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   6. LIABILITY OF THE COMPANY MUST BE BASED·ON TH{S COMMITMENT                                                                              ..
          (a) Only a Proposed Insured identified In Schedul~' A,tmd no other person, may make q c!airn;'under this Commitment.
          (b) Any claim must be based in contract and must be restricted solely to the te~s a~d: provisions of this Commitv;ient.
          (c) Until the Policy is issued, this Commitment, as last revi~d, is the exclusive. and.entire agreement between,th'.fparties with
              respect to the subject m~tter of this .Commitment and supersedes all p,ripr commitment negotiations, WPt~;;eritations, and
              proposals of any kind, ,whether written or oral, express or implied, relating to the subject matter of thlitCommitment.
          (d) The deletion or mpdification of any Schedule B, Part II-Exception does not constitute an agreeiTJenfor obliga\foh to provide
              coverage beyond the terms and provisions of this Commitn)ent or.the Policy.                     .. • I        .,, •    _._
          (e) Any amendment or endorsern'ent to this Commitment.must be i9Writing and autl]enticat~~16y•a person authorized by the
              Company ....           .                               •;,. •' ·.· :·              _ ''     ' : •,         ,.
          (f) When th~     P~llcy
                              is Issued'. all liability and obligation u~der.thisl~mmitment will end ~nd the Compa~y's only liability will bE;,,
              underthe Policy. •                                          '$      •                            \,     •                   ,, •

                                                                                                                                                  y)                                                           <·
   7.     I~JHIS COftfMITMENT HAS BEEN ISSUED llY AN ISSUING AGENT                                                                            ., •• d,·                                               ~•. ,:
          Toe, issuing agent is the Company's agent only for the limited purpose onssuing title Insurance ·commitments and policies. The
          issujng age'ii~ is not the Company's agefa for the purpose of provl<:lin~ cl~ng or ~ n t services.                                                                                . •   '

   8. PRO::-FORMA POUCY                                                   ,                                         c    .
                                                                                                   a
       The Company may provide, at the r~uest of a Proposed Insur~d( pro-fonna polic:;y llh.istrating the covera~ that the Company
       ~y provide .. A pro-forma policy ,r1eil:her reflects the status of Title at the time that the pro-forma policy is delivered to a Proposed
      .Insured, nor is it a commitment 'tti insure.                                        W•-•
                                      ,,, ,~~~       ,'\·                           .;.],


  : 9.    ARBJ,TRATION              \~ V         :                           ' 'i                                                        C   '>'.';~-                          ,'
          The Polley contains 8n 'arbitration clause. All arbitrable matters when tne Proposed Policy Airniunt Is $2,000,000 or less shall be
          arbitrated,,at the option of either the Compahv,,or"the Proposed In$Ured as the exc!usiv«;i remedy of the parties. A Proposed Insured
          may review a cop'f tif the arbitration rules !i~ http://www.atta.orqJiJrbitration. •-
                       ~   ., .                      .      ,




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       711isPif,e}s only a part ofa 2{)16AL TA@ Commitmentfor title lf1?t.!rance,.~ by First American                      'iille
                                                                                                              lnsuran~,.c:o'!:,pany. n,rscommltment is, (IOt
       valid without the Notice; the CQIWhitment to Issue Policy; the Commitmenlb:mditions; Schedli/e:A,· Schedule IJ//!iirt I-Requirements; Schedule/], Part
                           "'. -'-'. 1'-
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 . ''"'fi&ceptions.                                                                           •·""           '     ,':i        ,    •              . •       •
e,,, 1:,,Copyright 200§-2Q,16;~erlcan Land Title Association. All rights reserved,, ' /'.·,>                ' \. •              . ,,-,·                                                               r: ', ' '
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         rm 5030049 (5-12-17)              ge 3 of 9             r:,.                                  ~,.       ,('. ·"                                                                          , ranee (8-1-16
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                                                                                                                 ALTA Commitment for lltle Insurance
                                               First American Title isslJED av
                                                                                                                 First Aflleric~n Title Insurance ~C>rripan_y

  Schedule                                            A,•·
                                                                                                                 File No: 142,~3-6004201


 Transaction Idt1ntifiClfpon Data far reference only: •:,,                                                                                                                                                                                ,·

•Issuing Agerifr First
         ~       ~-
                       Arnencan Title• Insurance Company
                                                    ..•                                                                                   Issuing Office: 215 Sou~State5treet, Suit~ 280, ·Sa.it
                                                                                                                                          Lake City/iJT 84111 ,:• ,:. ",,1                                                                              •       '
:U.suing Q_fflce'~ ALTA® Registry ID: 117,8462                                                                                            Issuing Office File No.: '1.425~-6004201
Commitment No.: 14253-6004201           ,
Property.Address: 9870 North Meadow Drive, Cedar Hills/UT
M~-                                                     ·-
R,evision No.:


    ESCROW /CLOSING. INQUIRIES should qedir&ted to your t;scfow Officer: Sapr;ly Espinoza __at (801)825-
    13i3 located a~ 1l'9S E l.egend Hill~ Drive, Ste 100, Qearfield, UT 84015i- <           •
                                   •• • •                                                                    SCHEDULE A
                                                                                                                                                           1
         1.                 Commitment Date: Septem6er 12, 201~, B:oq AM                                                                                   )


         2.                 Policies to be i~s~ect':
                                                         ~";

    'j


                             (A)                                    "
                                              AlTAHomeowner's Poliey-("Eagle"}
                                              Proposed Insured: Internal l:tevenue.~rvi~
                                              Proposed, Policy'Arnount: $330,000.00                                                                                                     Premit,1.m:
                                                                                                                                                                                                _,,, $1,767.00
             II'                                                                                      : --~
                                                                                                      r:;   ..

                             (B)              ALT~ t;xparided Cov~e;R~d~ntial Loaf:l-Policy ("Eagle")
                                              Proposed Insured: ca'rttu,'al Financiaf
                                              Proposed Policy 1mount: $1,000.00                                                                                                         Premium: $220.00
                                                                                                      (:j.
                                                                                                '   r .:/



                             (C) • Endor~m~nts: 9-06T 22-0frand 8.1-06                                  Premium: $Includect'/
                                                    (,:,~·~. • -                   ~-:_            .,..    •-!         . "'.!"§;
                                                                                                                            1/.. ·   _   r·-, =· :\-·
                            The es,tate Q!Jnterest in the kand described or refe,rrea to In thj~_ Co~mltment is Fee S\ir1ple. ''"'                                                                                                  0




                                                                                                                                                            IC-

         4.              The Tittiis, at the Committnent Date, vested in:
                                                   .                                                     ~-
                   ;.,_, .~< ;_               -;-,<~•• ___     I• r.~:-- ·
                                                                         ••-.~- -          '\ -       1/
                     ,,_ PiiUI Kenneth CtPmar and Barbara Ann Cromar, husband and wife,, i:iS joint ,;enants
         5.                 The Land iS, located\n Utah Count(j-UT, and is describ       folh;>;""s: 'i ,, ' tf '\) ·-                        ~:;s
                                                                                                                                              0



                                       ·:_'.it :.                         -· _.'.\:x-· :    c,~_--,~          ••       !,i:_.-

                            LOT 3, PI.At "C", AMENDED NORn-t MEAD0\}J,&A1ES susoIVISION, ACCORDI.N,/ro THli. .(·,t
                            OFf;IC.IAL PLAT THEREOF 6N FILE AND OF R~CORD IN THE UTAH COUNTY Rl;CORDE-R'S OFFI€E.
                   Yd::i,      ~\;/   -                             '}        •'                                  -   • •                                              '   '                              ·11        ,
                                                                                                                                                                                              1;,•   '..._. / • '




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                                          r               .                               ,,c                                                                                  ,,                                               1



 This page is only a par/of a ;?()16 AL TA@ Comm;~t tr/'-i7ue In,suran~ /slued by Rrst America,/ 'r,tte Insuranqf;,G/mpany, •This Commitment ,~_not
, .v.atkfwithout the Notice; thfcoinmitment to Issue Policy/ the Commftmlint Conditions; Scher/f!!e A; SdJ.edulf! !!,;Part I-Requirements; Schedule (]/Part
;.JI-Exceptions. •• . •i.. . cc,                                           ·                ._ ,7" '.'•      • it •                                  '~ •
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   nn 5030019 (5-12-17)                            age 4 of 9                                                                                           . "">h ,p'"                        ~qf.Tommitmentfot~t , nsurance (8-t~Gh
Case 2:23-cr-00159-HCN-DBP Document 297 Filed 06/03/24 PageID.4708 Page 37 of 77
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                                                                                                                                          ALTA Commitr;nent
                                                                                                                                                   !:•
                                                                                                                                                            for Title Insurance
                                                                                                                                                                             "---.-

                                                                                                                                          ISSUED BY
                                         First American Ti:tle
                                                                                                                                          Fir~tAmerican Title Insuran,e Comp~riy
                                                                                                                                              ,·            1.-               .~;'                                              '           ,    -




   Schedule Bl & BIi                                                                                                                     :File No: i4253-600420l,
                                                                                                                                         I         •'                ,.,;-'




                                                                                                                                                                                                                    ,,f'
        ·,:commitment No.: 14253-6004201                                                                                                                                                                             • ,:,.


                                                                                                                     SCHEDULE ·a, P!'RT 1
                                                                                                                                RequrremJnts
          All of the following Reqµirefuents must be met,:
                                                             ,-.         '                                                  I
                                                       _..;:__.\l
                                               I ·   /,~•. _,




          1.         The ProP<;J.S~ Insured must notify th~ C6mpany in writi.ng of the name ofam~ party not referred to in
                     t.his Commitment who will obtc!~.n:an interest in th~ Land or who will make a• loan on the Land. The
                     G;omp~hy may then make additional Requirements.pr Exceptions~

          2.          ~~. ~e agreed am~un~ fo/'the estate qr interest to be insur,&1.
                     ..                                                 ,,:.   .   •                                   ·,           .-•,·C:                                          •




          3.         Pay the premiu,r,ris/fees, and charges for the Policyto the Company.

          4.          Documen~?satisfactory to the 9;mpany th~t c;orwey. the Title or create the Mortgage to be)nsured,
                      or both, must be properly authpnzedt executed/delivered, and recorded in the Pul»ic Records.
                                                                                       .   .                                    .                                                               ~-                              ~   .••
          5.     frovide releases/reconveyances, ,gr.0111,~(instruments, ag;~ptable to the C:Ornpany;hicluding
               F payment of any amounts due, removj11g the encumbrances, shown in Schedule B, Part II th,at are
                 objectionable to the Proposed Insured;,: ••                                                 •
                                                                    -                               •    •~-
                                               .,. •                                                ,~·,·-     .-·                                                ,...                                          .                         ,...
          6.              Provide us With copies of apprcipriate agreements, resolutions;.certificates, or other evidente needed
                          to identify the parties au,thorized to execute ffiedocuments creatirtg the interest       insured. -. :'1._,                                                                                        t:crbe
                                                                                                                                                                                                                                                         0



          7. . ,Provide us with any-.tnf~rmation r~c1nfin'g personal prope!!Y taxes which m~y.,h:ave been_~~~;d or
               ••:are due and JJa;~e which ,could become a lien on the:,rei:il property. 1:.            ,.t· • ,/ ','
                                                     '-'ct;~~                                  -~                                                   / _,;                                            ,__ ·;


                                   ·C>        .~




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    Tfi~}age is only a pa;;'ot a)~16 ;L TA@ Commitment tbr Title I.n.suiante fisued by Rrst Ameri~n" Title Insuranp;,..C~mpany. ThisCommitment is not
•• 1'(B)id without the Notice; tiJf;commitment to Issue Policy;, the Commitment Conditions; Sd1f!dule A; Sct,iedu~§ri'art I-ReqtJirements; ScheduleJJ; Part
".\ iI-EXceptions.         ,,, .   "·    "'                                                                                                                                              • '·             ·•·                                                '' •
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     rm 5030049 (5-12-17)         age 5 of 9                                 c-.:,_,.                                                   insurance (8-1-16
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                                                            03/04/20            Page 38 of 77
                                                                     P,age 1:9 ofs13



                 "• 1      11. ... F o9 Jr-
                                                                                                                                                                                                             •ALTA Comr;nitment for Title Ins4,~~11ce ·'. !          •      .~                                                                                                      ~J . (·
            '~                                 "i'
        '                                            -J,
                                                                                 First.Amer1'can Title                                                                                                       ISSUED BY

             ~. ... <..ti#     .-;..;;;~   .
                                                                                                                                                                                                             ,first American Title Insua:-,nce Corrtpany
                                                                                                                                                                                                                                 :~':,                                                   . ,'                                              -                              ',:                  '.


        Schedule":BI &- BIi Cont.                                                                                                                                                                            Fill:! N~: 14253-6004201

                        Commtttnent No._: !4253-6004201
                   !~;\                                                                                                                                                                                                                                                                                                 ~
                                                                                                                                                                                                                                                                                                                            ·, '"i
                                                                                                                                                                       :SCHEDULE B, PAR\: II                                                                                                                        .,!-_




                                                                                                                                                                                                                 ·-:                     ff-\ ~-
                                                                                                                                                                                       ExceptiOflS- ·,'
                                '                                                                                                  ;_•:          '-                                            ._·-, •~, ·, f?,._; .,,.                                                     :;;             ·.                                                  C•                 ·'.'", ...

                    THIS COMMITMENT DOES NOTr:REPUBLISH ANY COVENANT, CONDillON, RESTRICTION, ORUMITATION
                    _CONTAINED IN ANY ooru.t,eN'r REFERRED To IN THIS: COMMITMENT.to THE EXTENT THAT THE
            • •'SPECIFIC COVENANT, 1:0NDmON, RESTRICTJON, OR UMITATIO~;V!OLATES STATE OR FEDERAL LAW
                BASED ON RACE, ~Q~,~, REUGION, SEX 1.,$~UAL ORIENTATipN/GENDER IDEm:-p-Y, HANDICAP,
                        FAMILIAL STAll)StOR NATIONAL ORIGIN.'                                                                                                                                                                      _. ·- ·•                                                                        _,.,,,                                        ...
                                                                                 "\-~:-    '.                                                              ~-!.\                                                                          ·-                                                                   •,- -                                             ,..,_




                        The Policy Wili'not insure against IQ,~ & damage resultin.g from the terms arjd provisions of any le,ase or
                        easement identified in Sched4le'Aia'nd will indude the following Ex~ptio,ns unless cteared,tcr,tl:le •
                                                                                                                                                                                                                                                                                                                                                 0
                        satisfaction of the Company:;.      ·-        ,,    ,,             /~-   v                  •                                                                                                                                                                                                                                    •• •
                                                   .~. .              . ... ,,             ./ .
                                                                                                               ·',;.                                                              -.                                                                      , l                                                               ..~l~                    '



                                           (a) Taxes or a~.~~~ents that are not sh~wn as exli;ting liens by the reco~ds 6f any taxing author,i1;1/
                                                                                                                                                                                                                                                                                                                        1
                   . 1.
                                           that levies ~xes'or assessments on 'real property or by tbe Public Records; (b) proceeding~_by.,~ ~,)
                                                               1_                   -·         \'                                                               i;:~    '.                                              • .... ·                                                  r'.                                                                                           '     •   ' ••      ,.


                                           public agepcy that may result in, tcixes or a~ess(]lerjtsj or notices of ~uch proceedings, wheth~r br
                                                           j




                                           not sho~n by the records of such ag~ncy ori;>y the Public Records, • .                      , • '-·
                                                                             -                                                ·.   -~,_/'·            -                                .·'.~   -,. ,-   :~                   •                                            }~~'.,:,                                                               .\ -:-~ /\·.·••

                                         Any facts, rights, ,,interest o~ daims that ar~ not shown by t~E?-l{Oblk Record§ but tha~ could be
                                     :•' ascertained by an inspection of th~' La,rfcfor that may be ,as5erted by persons in possession ,of the
                                    ., Land.                                     .,,   •             • ,.                               "- -
                                                       .             -~,....C: •• ' :      /~ 0.:-            .. .''/.
                        3.                 Easements,'liens or encumbral'lc~ or claims thereof1 not sho~ b~ _the'~blic Record, ,
                                                                                                                                                                                                ':           •                                                  ,'         .·_:,'                         :.
                        4.            Any encroachment, encuh1brance, violation, variation, or adverse circu~stancf affecting the litle)' ; ·,
                                      induqing discrepan'c!e5, conflicts in '\>Qqridary lines, shortage in area, or any·bt!Jer facts that Wbuia be .
                                 ; i\_pisclosed by an 39f':-lrate and completf1and survey of ~~tand, and qot~myn in the. ~£'Reta~~- ("- C
                           ,.__, .,                                                      ,-, -            ••                              •. _                                                           t\·•- h·-:,[\;·                                             -,           -,·¥                  -.,!                                                    - {if                      ,.,,           r ·~
        ·-):: ·}s.'                        (a) UnHate"ted mining clai111s;_ (b) reservations or'~ceptions in,,"pateh,p or in Acts authorizing tp(t
            ·.,                            issuance:;tliereof; ( c) wab:![s ~ghts, claims or title fo ·water, wh,ether or not li!e m~tt;ers exCE)pted under
                                           (a), (b), or (c) are shown'by the Public Record.                                      •              ·- !:
                                     ~., /t ..,                                                                        ,'? '_; -                                                  ,,( ~:./• .                                                     .   ,:~< :_                                                       <-                                      ,/": \~,; ·:,
                        6. ·\              A~y lien, or right f~,;~ lien, for servic~~; labor or materi~I th'e~tofore or 'h~~ft:er fufl:li~hed, imposed
                                           by law and r\9(Shown in the PubHc,J~ecords.                                                                                                                                       ,, ;)1,_' '·1                                                       ';'}      - •                       ff}"
                                                                                 ~i ,                                                                           k                              , , \ ;f>')                                                    ,ti                                 •                                    c '                                                               .;,[c'.sa
                                           Any defect, lien, e_ncumb~,nce, adverse cl_ain\1,pr other matter that ap~rs for th.,e,~J'ft tim~l~ t~€:J •
                                           Put)lic Records or 1s crf;1ated, attaches, or 1s disclosed between, the Commitment Date and the tl!;!te on
                                      ,,,. y,,liich all of the,Sd'\~uleB,, Part I-Require~ts are met.,. s. • ·:             ,,.
                                           ·H.Y                                           ":.,
                                                                                                    7'          r/\-:                                                                                                  :,)               (~i_'/
                                                                                                                                                                                                                                         -                                                                                             :., '
                        ~                                                                                                                                 f~           :.·- ~f/                                                                                              , . l~f...                        U                     ,/f:;..,
                 -·.-     ,·                                        !..:~.                c~         -:                                               ·        _ ., (;                                  _ \_;. _;,                                                         ·",-~_.·~-    •---                                          -f.                                                •,
          n,(~pafje is only a part of1:?.0{6 ALTA@ Commifme(lt for TitlelJ?f-Jran~/ssued_b! First Americaq. Title ln5Uran<;tt;:&mpany. •'fl/.is Commitment ~tnot
         ,v_alld wilf!out the Notice; the_'{:ommitment fl) Issue Policy,· the Camrnitnient CDndiUons; Sch(!f!l!le A; Sc{Jedupf½Part 1-Reqllirements; SChedule;fJ,.· Part
.,-,     ll-Exceptions. ", , ". <::,                                             • •             .     , ~-<. ~      -~.   ,~;.i ••                             '°" •
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                                                                                                                                -         ...:,                                                                                                              "    .....
                                                                                                                                                                                                                              1·:                 .-         ·.\,,:·


                           Subject to underwriting_reviewand approval, some or all of Ex~r>tions 1-7 may be omitted
                                                   "on extended coverage and Eagl~, ~Odes


                  8.             Taxes for the year 20\9 now a lien, not yet due. General property taxes for the y~ar:'.2018 wer~·~aid
                                 in the amount of $2,109.04. Tax Parcel No. 47~05_9~bo@3.                           -        •        -
                                                                                                                                                     ~--1..,                           ; ,i'J                                            .·~\

                                      o',. ~,   -                                                                                                            '--'·         ·:·•   f.,,,, .';);.',                                   ·>
                  9.            .Any charge upon
                                            ,·~·
                                                 the land by reason of its incl~lori iltCedar Hills City.

                fb.               Easdments, notes and restrictions as, shown on the recorded plat:

                11~               Dedaration of Independen~~ recorded July 05, 2012 as Etitry No. 55868:2012 of Official Rer;ordt
                                                                                                                                                                                                    •                                                             -                                                .•   ~·

               •12.               Notice of pendency of a¢ori by and between Uni~ States of America as Plaintiff whclse Attorney
                                  being Richard E. 41cterman, Ryan S. Wgtson and John W. Hub~r.aM Paul Kenneth Cromar and
                                  Barbara Ann Crggtar:-.et al. as Defenda~~;.filecl in the United States District Court for the District of
                                  Utah as ca~'l'fl)"7'2:17-cv-01223-RJ~-for,the purpose of action affects: the title} possession and
                                  ownership,ofthe real property aQd 'fecorcled March 14,,·2018 as Entry No.~14160:2018 of,Official
                                  ~ecord~, ,;.                      ~" •                                         • •••

                 13.              r-:id~c:Ei of pendency of <3.ction by and between Paul Kenneth °'omar,and Barbara Anndomar as
                                  plaintiff whose Atto,rneyJJeing Not Disclosed and United States.of America, Williain,,.p. Barr, Ryans.
                                  Watson, Nancy ~, Pliillips, R. A. Mitchell, Wanda I. .Manley, Joari Flach or Jpal'):fla& and Robert J. . ..
                                  Shelby as Defenqant filed in the United States Distnct Court for the DistticfdfUtah as case No; 21,i'g~;
                                  cv-OQ~55-B~:for the purpose of 0to(obtain a judgmen,t and other a!;lcillary relief including/ buthcii:'
                                  limited W;jµdgment establishilJg ,clear Title°13pd,r~c6rded June 26, 2019 as Enby No. 586,Q,fi:·Z(ll9 of
                                  Official Records.                . ,,:     ·,   '\ ._,   '"          ,,   •                 7
                                                .                                             :-~:'._-!       ;•    •                             1,,i··,,       ,, -~-                                              ,,_("-                                              -                     :::(.:).:.,'


                 14,              ~ Federal Tax Lien against Paul K,,,po'i9f, In .favor of the United States of America in the principal
                 n         •          amount of $623,698'.12 and any other'amounts due thereµhder, recorded June 28, 2017 as Entry
                                      No. 62374:2017, df Official Records; •.              .                                         ,,
                                                 .) .              ;_t-/>     •·      . ,'. :              .. / I •              -~-. ,
                 15.                  A Federal Tax Lien against Paut·~l Cromar, in favor of the United States of America,jn the principal .,
                                      amount of $84,087.04 apd any other amounts due thereunder, $rded;June 2~,·2u,17 as EntrY,,l'Jp,
                                      62375:2017, of Offi~la) Records.                 '                                                ••




                               ,. The name(s) Barbara ~nn cromar and Pa~t)<enneth Cromar, !i~~/have beeh checked fRP1l!dgments,
                               ':, State and Federal ~~11i'ens, and bankruptoes-and if,\lny w~~~found, antd~clbsed ~erefn. •
                                 ••               - \':).                -              • c/ 't          '_; ,, ,.,, f.f,·,\~~: I
                                      The name }otemal Revenue Servicer a govemr;nen_t~W~gency ex£.(!1Pt ~om execution pursuant to                                                                                                                                                                                                 ,..
                                      Utah Cocle~nnotated 63-30d-101 et.seq., has,N,O':rbeen checked-for Judgments, Stc!te and Feder~l
                                                                          '"                                                      rt
                                                                                                                                             /
                                                                                                                                         _: •1                       ~-.   .,..                                                                                                                     •.    ;>-_'1

                                      tax liens, or bankruptcies. r,.            .,;: .. "        .•·               ,, ,, _ •, . • \, .. ,',
                                                                                                                                                                           .                                                                                                                                                 ,;,


                               ,,~.             ~.;   -                             ·,:,.   !\_,--;_      :                                                    ,;-                                                       '    :_·                                              - .   ~\\ .:    --                  .,    .     '

                                • NOTE: According tq;pfficial Records, there have ~n m;>;ddcuments conveying the lane! described
                     :?:
                                      hefein with.\n"<\ pe{iod·of 24 m~ths P~!.or to the dat~,pf this commlt~r"t, ~cept
                                                                                   -;!,-,                               r1,   -~,: ·-·~                                                      •                                                   ,,,_-
                                                                                                                                                                                                                                                                                          f ibl.~s: NONE,
                                                                                                                                                                                                                                                                                         r/ ,_'.


                                                              'iff:
           Th{~Pfat/4 ts only a part a ?d~~ AfrA@ CommilmerJ/fo/;ue In~urcg,cgissfJed by Rrst American. Frt1e Insura~i(!bmpany. Th~ Contmitment got                                                                                                                                                                                          ~
   ,<, ,   yal/ii wflho,ut the Notice; the, pommitment to Issue Aflicy; the Cdnimitmeilt Conditions,· Sche<f#(e A,· SdJ¢ul~ B,'JJ'art I-Requirements; Schedul?-, 8, .P<Jrt
rt:\/--i_..,:Jr-Exceph"af:5~                I   '•.       ,.-/'.,;,_.   '~t,·                                                                             •.                                            ' . ~--~{..;,·;'.~T                     ".\      l             i',\:     -                                                  .    :   -·   ·,

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             rm5030049(5-12-17)                                                 ge7of9                             ~.                                                                                         '"· "'"'L'                                                                                                       "_ rance(B-1-16
                                                                                                                                                                                                                / "                                                                                                                        Utah
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                                         ,. 117-3 Filed 03/04/20 Page 12 of'l3

                                                                                     .                                                     .                         \.~    "·}


                                 Note: The Eagle owner•~ policy of title insura~ce committed te> be.issued will contain ..
                                 Deductible Amounts and Uability Limits relative to certain:,Covered Risks found in t~e'.policy
                                                                                                                                                                                                                                  1
                                 as follows:                                                                                                                                                                                               •




                                 Covered Risk 16 (SubdMsion Law Violations) has a deductible of 1% of tl,e Policy t\rnQunt or $2Sbo
                                 whichever is less, and a,Maximum Dollar Limit of Liability qf $10,000.            • •
                                                                                                                                                                           ~'• ;-?:,

                                 Covered rusk 18 (BUilding Permits) has a declJtmble                                ~f i
                                                                                                  % of the Policy.•.Amount or $5000 whichever is
                                 less; and a MaxiJnum Dollar Limit of Liability of $25-,000'~ .:- •                 •••• "    , •'
                                      •                                                                                             .                                                      ~




                                ' .                                   •.                \            ~=1    .            .
                    ".<> Covered Risk 19 (Zoning) has a deductible of 1% of the Policy Amount or $50p0 Whichever is less, and :
                         ? Ma>Qp1Um Dollar Limit of Liability of $25,000.           _.                   ••                 ••

                            >Covered Risk 21 (Encroachment.of Boundary WalJs orfellces) has a',deductibie of 1% of tl)ePoficy
                            '·Amount or $2500 whicheve,ris less, and a Maximum Dollar Limit of Liability of $5,000. •• •
                                                    ,-. •<:_,                                                  ·a,                             ','           •




                                                                   ],ti~ igquiries should be directed to Leon Law$9~@ (801)578-8808.
                                                            ';:·::.;:·---.31                          ,-,l                                                                         ..


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                                             _.                                                               ,...                                               '



                                 The map·•aftached, if any, may or may not be a survey of the land depicted hereon. First A,meric:an Title
                                 expressly disclaims any lia9jlity for loss or damage which may reij\Jlt from reliance on thitmap except to
                                 the extent coverage for_..s,uq, loss or damage is expressly providea,by the terms and p~qvlsions of the title
                                 insurance policy, if arYf,to which this map is attached._            '·           ,,     ' • •.            : /~




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     Th~pilue, is only a part o(a ?_O~~ AL TA@ Commilme(l_t/w-77tle Insuranafissiled by Rrst Americaf/ Ttfle Insuranc~.l(Jjmpany. This Commitment ts11ot
 _ ,,'(a/JJWithout the Notice; the, ¢omm;t,nent to Issue Policy,'. the Comtnilmi!nt Conditions; Sche</#_le A; Sch¢ukf,_ Q/Part: I-Requirements) Schedul(} Q,P9tt
''i~,:.n-Exceptions,                        ,·.    <,'i,.                                                                  '   -~' '.'•;                 .       '         -:_"        '                                                                        . ·-.•

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    Fann 5030049 (5-12-17}                                        age 8 of 9             ·-"

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       Thi~pa!Ji!..js only a part ofa 2_019 AL TA@ Commilmellt fohTltie Insurai1c~ is$t1ed by Rrst American~Title Insuran~pany. Thi!f. Comimtment is apt
       '.!_a!(rl,'witnout the Notice; ~ C.o,mmitment to Issue Pr:Jtlcw1t11e Commi,linetit Qmditions; Schet/lJ11 A; ~u/e o,_:Psrt I-Requirements; Schedule_ 8/ Part
 ;Vo: 'J!"f'!fa:epfiOnS.       '.'· .    '/;;c.'                        .-.          , ,           ..  Jc:"C-               ·      ~~, ,,,    :,               '~-   :.
" \ ·copyright '20(16-201~,~metlcan Land Title Association. All rights resenre<k ,; <irJ·~'                          ·') • j ...·· "'"     /.' •        , , i, i • •
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   Case 2:23-cr-00159-HCN-DBP Document 297t 117-4
                                             Filed 06/03/24   PageID.4713
                                                    Filed 03/04/20 Page 1 ofPage
                                                                             1 42 ofInvoice
                                                                                     77
                                                                                         INVOICE#                         35789
                                                                                             DATE                  06/25/2019
                                                                                         DUE DATE            21st July 2019




Alpine Lock
309 E State St,                                                               Ph 8017568100
American Fork UT                                                              alas@alpinelockandsafe.com
84003                                                                         http://www.alpinelockandsafe.com


BILL TO                   GARY                                JOB ADDRESS      3950 W Cedar Hills Dr           Exhibit
                          3950 W Cedar Hills Dr                                Cedar Hills Utah 84062
                                                                                                                      C
                          Cedar Hills Utah 84062


WORK COMPLETED            Ap 069970

DESCRIPTION                                                                       QTY         UNIT PRICE            AMOUNT


                                                                                                 $55.00              $55.00
Trip Charge Service FeeTrip Charge Service Fee L 1

                                                                                     6           $12.00              $72.00
REKEYRESIDENTIAL REKEY


                                                                                              SUBTOTAL              $127.00
                                                                                                                      $0.00

                                                               \PAI~
                                                                                                     TAX

                                                                                                    TOTAL           $127.00
                                                                                           AMOUNT PAID                $0.00

                                                                                  BALANCE DUE                 $127.00

By signing below, I acknowledge that the technician has carried out the work described above to my satisfaction.

CUSTOMER SIGNATURE




How to Pay                                                                                               Invoice #35789
                                                                                           $127.00 due by 21st July 2019

                                                                      CHECK         309 E State St,
                                                                                    American Fork UT
                                                                                    84003


Returns/Cancellations: Returns must be made within 30 days of delivery and will be charged a minimum restocking fee of
25%. Restocking fees are subject to individual vendor terms. Items out of the box or incomplete are not
returnable.Custom / special orders are not returnable or refundable. Thank you for your business, have a great day!
Case 2:23-cr-00159-HCN-DBP Document 297 Filed 06/03/24 PageID.4714 Page 43 of 77
         Case 2:17-cv-01223-RJS Document 117-5 Filed 03/04/20 Page 1 of 1

                      NATIONWIDE NEWSPAPERS
                                                                                          ~-----......
                                                                                                  Exhibit
                                  5955 Masters Blvd                                                  D

                                Orlando, Florida 32819
                                    Tel: (407) 909-1644
                                    Fax: (407) 909-1748
                                                                                                  8/19/2019

          Account Number                 Invoice Number                          Amount Due
           951-201-6919                      918170                                $0.00

              Customer's Name:           Internal Revenue Service
                  Street Address:        1201 Pacific Avenue Ste 550             DUE UPON RECEIPT
           City, State, Zip Code:        Tacoma WA 98402
            Telephone Number:            360-536-6602                           Fax Number:
                   Purchased By:         Gary Chambers



Name of Publication                      Location                 Run Date                           Price
Provo Daily Herald                       Provo UT            7/18, 7/25, 8/01, 8/08           $     556.80




NOTE:                                                                   TOTAL AMOUNT:              $556.80
Thank you for using Nationwide Newspapers!!                                     SALES TAX:               n/a
                                                                          LESS PAYMENT:            $556.80
                                                                                TOTAL DUE:           $0.00
Case 2:23-cr-00159-HCN-DBP Document 297 Filed 06/03/24 PageID.4715 Page 44 of 77
         Case 2:17-cv-01223-RJS Document 117-6 Filed 03/04/20 Page 1 of 2




  RICHARD E. ZUCKERMAN
  Principal Deputy Assistant Attorney General

  RYANS. WATSON
  Trial Attorney, Tax Division
  U.S. Department of Justice
  P.O. Box 683, Ben Franklin Station
  Washington, D.C. 20044-0683
  Telephone: 202.514.5173
  Ryan. Watson@usdoj.gov

                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

  UNITED STATES OF AMERICA,

               Plaintiff,                              Case No. 2: 17-cv-01223-RJS

                   V.

   PAUL KENNETH CROMAR,
   BARBARA ANN CROMAR,                                  DECLARATION OF RYANS. WATSON
   UTAH HOUSING FINANCE AGENCY,
   UNIVERSAL CAMPUS FEDERAL CREDIT
   UNION,
   STATE OF UTAH, TAX COMMISSION,
   AND UTAH COUNTY, UTAH

               Defendants.


          I, Ryan S. Watson, pursuant to 28 U.S.C. § 1746, hereby declare that:

          1.       I am employed as an attorney with the United States Department of Justice, Tax

   Division, in Washington, DC. I am assigned responsibility for representing the interests of the

   United States in the above-captioned matter. I make this Declaration in support of the United

   States' Motion for Order Confirming Sale and Distributing Proceeds.

          2.       This Declaration concerns the sale of 9870 N. Meadow Drive, Cedar Hills, Utah

   84062-9430 ("the property") in the above-captioned matter.
Case 2:23-cr-00159-HCN-DBP   Document
         Case 2:17-cv-01223-RJS       297 117-6
                                 Document  Filed 06/03/24   PageID.4716
                                                  Filed 03/04/20 Page 2 ofPage
                                                                           2 45 of 77




          3.        Attached to this Declaration as Exhibit E is an email from Cort Griffin, counsel

   for Utah County, in which Mr. Griffin confirms that there are outstanding real property taxes

   against the property and further confirms the per diem interest accrual rate of $0.44 per day.

          4.        Attached to this Declaration as Exhibit F is a printout obtained from the Utah

   County Treasurer's Delinquent Tax Summary for the property.

          5.        Attached to this Declaration as Exhibit G is an email I sent to Mr. Griffin on June

   27, 2019 advising the County to not accept for filing a frivolous lis pendens Paul Kenneth

   Cromar intended to file in violation of the Court's March 20, 2019 Order of Foreclosure and

   Judicial Sale.

          6.        Attached to this Declaration as Exhibit His a June 28, 2019 email from Mr.

   Griffin enclosing the lis pendens that was filed with the County.



          I declare under penalty of perjury that the foregoing is true and correct.

   Dated: March 4, 2020                                   Isl Ryan S. Watson
                                                          Trial Attorney, Tax Division
                                                          U.S. Department of Justice




                                                    -2-
      Case 2:23-cr-00159-HCN-DBP Document 297 Filed 06/03/24 PageID.4717 Page 46 of 77
                Case 2:17-cv-01223-RJS Document 117-7 Filed 03/04/20 Page 1 of 2


Watson, Ryan (TAX)

From:                                Cort Griffin <CORTG@utahcounty.gov>
Sent:                                Tuesday, March 03, 2020 4:34 PM                                            Exhibit
To:                                  Watson, Ryan (TAX)                                                              E
Cc:                                  Kim T Jackson; Cary McConnell; David Leavitt
Subject:                             RE: Cremar



Ryan,

That is the correct amount. The payoff as of March 3, 2019 is $2,114.49. The 2019 delinquent real property tax interest
rate is 7.75%. The per diem accrual is $0.44 per day.

The check should be made out to:

Utah County Treasurer
100 E. Center Street, Suite 1200
Provo, Utah 84606

Let me know if there is anything else you need.

Cort



From: Watson, Ryan (TAX) <Ryan.Watson@usdoj.gov>
Sent: Tuesday, March 3, 2020 8:09 AM
To: Cort Griffin <CORTG@utahcounty.gov>
Subject: RE: Cremar

Also, please let me know who the check should be made out to and where it should be sent.

Thanks.

-Ryan
202.514.5173
From: Watson, Ryan (TAX) <Ryan.Watson@tax.USDOJ.gov>
Sent: Tuesday, March 03, 2020 10:07 AM
To: Cort Griffin <CORTG@utahcounty.gov>
Subject: Cremar

Cort-

I am preparing a motion to confirm the sale of the Cromar property. The property Serial No. is 47:059:0003. It looks like there is
a balance due for 2019 of $2,114.49. Can you please confirm the amount and also tell me what the per diem accrual is? Thank
you.


Ryan S. Watson
Trial Attorney
U.S. Department of Justice, Tax Division
Civil Trial Section - Western Region
P.O. Box 683
Washington, D.C. 20044
   Case 2:23-cr-00159-HCN-DBP    Document
             Case 2:17-cv-01223-RJS       297 117-7
                                     Document  Filed 06/03/24   PageID.4718
                                                      Filed 03/04/20          Page
                                                                      Page 2 of 2 47 of 77
For FedEx or UPS delivery:
555 4th Street N.W., Room 7239
Washington, D.C. 20001

Tel: 202.514.5173 I Fax: 202.307.0054 I ryan.watson@usdoj.gov I
      Case 2:23-cr-00159-HCN-DBP Document 297 Filed 06/03/24 PageID.4719 Page 48 of 77




  UTAH COUNTY TREASURER
  DELINQUENT TAX SUMMARY                                                                                                                                Exhibit
                                                                                                                                                           F
  Serial Number:47:059:0003
  Delinquent Tax Summary Calculated to 3/3/2020

   Year               Tax Balance                          Penalty                        Fees                   Interest                    Total
   2019                   $2,035.76                        $50.89                        $0.00                    $27.84              $2,114.49
            --------- .... "' ...... ------------- -----------·------------ ------------------------ -----·----------------- -------...... ----------
   Total                  $2,035.76                        $50.89                        $0.00                    $27.84              $2,114.49


   Total amount if paid as of 3/3/2020.                                                                                                $2,114.49

  TOTAL AMOUNT IS SUBJECT TO CHANGE AS INTEREST IS COMPUTED DAILY. PAYMENTS MUST
  BE RECEIVED IN THE TREASURER'S OFFICE ON THE SAME DAY AS THE CALCULATED PAYOFF DATE.



   To calculate amount for a
   different date, choose the         3/3/2020               click \ Calculate Payoff             I
   payoff date here:                 in box for calendar

  All taxes, penalties, fees and interest must be paid in full. If all such items are not paid by March 15 following the lapse of four
  years from the date when the property tax became delinquent, the property will be subject to sale at the annual Utah County Tax
  Sale. Tax Sale properties will incur an administration fee of $165. Utah Code Annotated 59-2-1343

  For year 2020:
  After March 16, 2020, payment must be made with cash or certified funds. Certified funds must be for the exact balance owing, no refund of
  excess payment will be made.

  The Treasurer has no authority to waive taxes, penalties, fees or interest. Verify the parcel description for accuracy; this office is not
  responsible if payments are made on the wrong property.

  KIM T. JACKSON
  Treasurer, Utah CountY.
  100 East Center Street Ste 1200
  Provo, UT 84606-3159
  801-851-8255 or 801-851-8264




  Main Menu

  Comments or Concerns on Value/Appraisal - Assessor's Office
  Documents/Owner/Parcel Info - Recorder's Office
  Address Change for Tax Notice

  This page was created on 3/3/2020 at 08:04:53 AM




www.utahcounty.gov/LandRecordsfTaxPayoff.asp?av_date=3%2F3%2F2020&button=++Calculate+Payoff++&av_seria1=47%3A059%3A0003                                           1/1
      Case 2:23-cr-00159-HCN-DBP    Document
                Case 2:17-cv-01223-RJS       297 117-9
                                        Document  Filed 06/03/24   PageID.4720
                                                         Filed 03/04/20 Page 1 ofPage
                                                                                  5 49 of 77


Watson, Ryan {TAX)

From:                                Watson, Ryan (TAX)
                                                                                                                   Exhibit
Sent:                                Thursday, June 27, 2019 3:18 PM
                                                                                                                       G
To:                                  Cort Griffin
Subject:                             Cremar Frivolous Filing
Attachments:                         00014 - Notice of Lis Pendens.pdf



Cort-

Please see the attached document purporting to be a lis pendens from Mr. Cromar. You may be aware of this already by way of
Cromar's emails and calls to the Utah County Sheriff, but he filed a frivolous lawsuit against Judge Shelby and me seeking
$120MM in damages. The attached document was filed with the district court in that case.

It does not appear from the filing that he has recorded this document with Utah County, but the Clerk and Recorder should be
advised to reject any such filing as it would be in violation of Judge Shelby's March 20, 2019 Order of Foreclosure and Judicial
Sale. (ECF No. 104 at para. 8). Can you check with the Clerk and Recorder to see if it has been filed, and if it has, make sure it
is expunged? Please give me a call if you have questions.

Thanks,

Ryan

Ryan S. Watson
Trial Attorney
U.S. Department of Justice, Tax Division
Civil Trial Section - Western Region
P.O. Box 683
Washington, D.C. 20044

For FedEx or UPS delivery:
555 4th Street N.W., Room 7239
Washington, D.C. 20001

Tel: 202.514.5173 I Fax: 202.307.0054 I ryan.watson@usdoj.gov I
Case 2:23-cr-00159-HCN-DBP Document 297 Filed 06/03/24 PageID.4721 Page 50 of 77
          C~as~ 2:l.fb-'(l-\O-fil02S€R]S D Ddim.lm8lltr1ltll749 Flffflecd)6ffi'6N9O PEt~~ ~ 2>bfl. 5




                                                                                 F-ILE D
                                                                          U.S. DISTRICT COUil r
                   UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF UTA:d 19 JUN 25 , o 3: 21
                         CENTRAL DIVISION • D_ISTRICT OF UTAH
                                                                           gy: ________.:.,
                                                                               t1EP UT Y CLERl,

     Paul Kenneth Cromar,
     Barbara Ann Cromar,
           Plaintiffs,
                                                       CIVIL CASE No.:
              v.
                                                      2: 19-cv-00255-BCW
      UNITED STATES OF
      AMERICA,
      WILLIAM P. BARR, DOJ
       ATTORNEY GENERAL;
      RYANS. WATSON,                              NOTICE
      NANCY K PHILLIPS,
      R. A. MITCHELL,
                                              OF LIS PENDENS
      WANDA I. MANLEY,
      JOAN FLACH
      or JOAN FLACK;
      ROBERT J, SHELBY;
          Defendants.


      To those concerned,
      Please take notice that a lawsuit captioned as above was commenced in the Utah
      Fourth District Court in Provo on March 29, 2019 [Case-No: 190400494] against
      the United States of America and other parties, and is now pending, after removal
      to federal district court in Provo, Utah, as Case No.: [Case No.: 2:19-cv-00255] in
      that federal district court in Salt Lake City, Utah.


      The general object of said suit is to obtain a judgment and other ancillary relief
      including, but not limited to, judgment establishing clear Title in the state of Utah
      to the property commonly known as:
                                                  \
Case 2:23-cr-00159-HCN-DBP Document 297 Filed 06/03/24 PageID.4722 Page 51 of 77
         Oassl:£ 2.: I 93-YC~ID02S!H] SD D dilrum 81ltr11t1174 9 FRfflecID 6.ffi6J:1119 0 pj:j~{J E£ 3lb4 5




         9870 N. Meadow Drive, Cedar Hills, Utah 84062

      That action names the above captioned parties and is itself pursued as a:
                                           COMPLAINT

                                  FOR $120,000,000
                                FOR VIOLATIONS OF
                            CONSTITUTIONAL RIGHTS;
                CONSPIRACY TO VIOLATE CONSTITUTIONAL RIGHTS;
           FOR FRAUD; COMPUTER FRAUD; FORGERY; UNLAWFUL PEONAGE;
                            INVOLUNTARY SERVITUDE;
           VIOLATIONS OF RIGHTS TO DUE PROCESS AND TO TRIAL BY JURY;
         ATTEMPTED UNLAWFUL CONVERSION OF PRIVATE PROPERTY UNDER
              COLOR OF LAW AND EXTORTION UNDER COLOR OF OFFICE;
        ATTEMPTS TO ENFORCE A VOID JUDGMENT ISSUED BY A FEDERAL COURT
          LACKING SUBJECT-MAITER JURISDICTION UNDER ANY APPLICABLE
            ENABLING ENFORCEMENT CLAUSE IN THE CONSTITUTION; AND
          FOR BLATANT VIOLATIONS OF ARTICLE, I, SECTION 2, CLAUSE 3; AND
                        ARTICLE I, SECTION 9, CLAUSE 4; AND
                          ARTICLE I, SECTION 8; CLAUSE 1
                          OF THE U.S. CONSTITUTION; AND
                           FOR BLATANT VIOLATIONS OF
                              CONSTITUTIONAL RIGHTS
                                  SECURED UNDER
                                THE 4 th AMENDMENT;
                                THE 5th AMENDMENT;
                             THE 7 th AMENDMENT; AND
                               THE 14 th AMENDMENT
                             TO THE U.S. CONSTITUTION,
                               AND ARTICLE I OF THE
                                UTAH CONSTITUTION

                               TRIAL BY JURY DEMANDED

      Additionally, there is an appeal of judgment pending in the United States Tenth
      Circuit Court of Appeals that also involves this property, Docketed as Case
      Number: 19-4075 in that U.S. Tenth Circuit court. Litigation has been on-going in
      this legal action since 2017, and the Appeals arguments have not yet even been
      calendared in the Circuit Court.
Case 2:23-cr-00159-HCN-DBP Document 297 Filed 06/03/24 PageID.4723 Page 52 of 77
         C'3as~ 2.: I 93-YC~ID02S€R] S D Ddilrnm BTitr11tll74 9 F lttaeci>6.ffi'6J11/9 0 P§@.€) E8 4>b~ 5




     The said lands and premises to be affected by said suit in Utah County and the
     federal courts, are legally described as follows:
         Lot: 3 Plat "C",
         Amended North Meadow Estates Subdivision
         47:059:0003

      Also known as:

         9870 N. Meadow Drive
         Cedar Hills, U tab 84062

      This LIS PENDENS Notice provides all potential purchasers and lien holders with
      constructive legal Notice that there is ongoing litigation affecting the real estate,
      and those that those persons claiming a subsequent interest, take a subordinated
      interest to the plaintiffs interest post litigation. If the plaintiff prevails in the
      action, the plaintiff would have priority over purchasers subsequent to the filing of
      the Lis pendens.


      In sum, "the primary purpose of the notice of Lis pendens is to preserve the
      property which is the subject matter of the lawsuit from actions of the property
      owner so that full judicial relief can be granted, if the plaintiff prevails." A Lis
      pendens may be filed in an action affecting real estate and, in the State of Utah, is
      governed by statute under Utah Code, Title 78B - Judicial Code, Chapter 6, Pait
      13, Section 1303 Lis pendens -Notice.
            Sworn and submitted this 25 st day of June 2019, by:


           ~-~=---------------and                             ~di_,/,.,,~
            Paul Kenneth Cromar                                  arbara Ann Cremar
            9870 N. Meadows Dr.                                 9870 N. Meadows Dr.
            Cedar Hills, UT 84062                               Cedar Hills, UT 84062
Case 2:23-cr-00159-HCN-DBP Document 297 Filed 06/03/24 PageID.4724 Page 53 of 77
         C<aSBE2 2:193--e-illlD023€R] GD Ddimnmmt:r11tTI749 FRfflecID6ffi'6J:11/9O P§ij€Jel ~bfl-5




                               CERTIFICATE OF SERVICE


     I, Paul Kenneth Cromai· certify that a true copy of the attached Lis pendens has
     been served via regular US postal service to the following:



     John W. Huber US Attorney (#7226)
     John K. Mangum, Asst. US Attny (#2072)
     111 South Main Street, # 1800
     Salt Lake City, Utah 84111




                                     ~    ~C-_
                                     Paul K e n ~
                                       9870 N. Meadows Dr.
                                       Cedar Hills, UT 84062



                                       June 25t\ 2019




                                                 A
      Case 2:23-cr-00159-HCN-DBP Document 297 Filed 06/03/24 PageID.4725 Page 54 of 77
               Case 2:17-cv-01223-RJS Document 117-10 Filed 03/04/20 Page 1 of 5


Watson, Ryan (TAX)

From:                               Cort Griffin <CORTG@utahcounty.gov>
Sent:                               Friday, June 28, 2019 1:36 PM                              Exhibit
To:                                 Watson, Ryan (TAX)                                            H
Subject:                            FW: Cromar Lis Pendens
Attachments:                        Cromar Lis Pendens.PDF



Ryan,

The lis pendens was recorded yesterday late in the afternoon.

Cort


From: Andrea Allen <ANDREA@utahcounty.gov>
Sent: Friday, June 28, 2019 8:25 AM
To: Cort Griffin <CORTG@utahcounty.gov>
Subject: Cromar Lis Pendens

Hi Cort,

This was recorded June 26, 2019 at 4:20 pm. I did not see it yesterday when I looked for it.

As you can see, it just has a filed at the court stamp not an actual court seal.

aa
Case 2:23-cr-00159-HCN-DBP Document 297 Filed 06/03/24 PageID.4726 Page 55 of 77
         Case 2:17-cv-01223-RJS Document 117-10 Filed 03/04/20 Page 2 of 5

                                                                       H_lED IN_UNITED STATES DISTRICT
                                                                           COU/iT, DISTRICT OF UTAH
                                                                                            Jtm 25 2019
                 UNITED STATES DISTRICT COJ!R~~~~/
                   FOR THE :DISTRICT OF UTAlf CEP LEAK            PWl
                       CEN1~RAL DIVISION ENT 58695!2019 PG 1 of 4
                                                                  JEFFERY SMITH
                                                                  UTAH COUNTY RECORDER
                                                                  2019 Jun 26 4:21) PM FEE 4fJ.00 BY MG
                                                                  RECORDED FOR CRONAR, PAUL & BARBARA
    Paul Kenneth Cromar,
    Barbara Ann Cromar,
          Plaintiffs,
                                                     CIVIL CASE No.:
            v.
                                                    2: 19-cv-00255-BCW
    UNITED STATES OF
    AMERICA,
    WILLIAM P. BARR, DOJ
     ATTORNEY GENERAL;
    RYANS. WATSON,                             NOTICE
    NANCY K PHILLIPS,
    R. A. MITCHELL,
                                           OF LIS PENDENS
    WANDA I. MANLEY,
    JOAN FLACH
                                                                  Illlllll lllllllllll Ill llllllllll lllll lllll lllll lllll llllllllll lllll llll llll
    or JOAN FLACK;
    ROBERT J. SHELBY;
        Defendants.


    To those concerned,
    Please take notice that a lawsuit captioned as above was commenced in the Utah
    Fourth District Court in Provo on March 29, 2019 [Case-No: 190400494] against
    the United States of America and other parties, and is now pending, after removal
    to federal district court in Provo, Utah, as Case No.: [Case No.: 2: l 9-cv-00255] in
    that federal district court in Salt Lake City, Utah.


    The general object of said suit is to obtain a judgment and other ancillary relief
    including, but not limited to, judgment establishing clear Title in the state of Utah
    to the property commonly known as:
                                                \
Case 2:23-cr-00159-HCN-DBP Document 297 Filed 06/03/24 PageID.4727 Page 56 of 77
         Case 2:17-cv-01223-RJS Document 117-10 Filed 03/Cf47205~6~J~I 9 PG 2 of 4




       9870 N. Meadow Driv1e, Cedar Hills, Utah 84062

    That action names the above captioned parties and is itself pursued as a:

                                       COMPLAINT

                                FOR $120,000,000
                             FOR VIOLATIONS OF
                          CONSTITUTIONAL RIGHTS;
              CONSPIRACY TO VJiOLATE CONSTITUTIONAL RIGHTS;
         FOR FRAUD; COMPUTER FRAUD; FORGERY; UNLAWFUL PEONAGE;
                          INVOLUNTARY SERVITUDE;
         VIOLATIONS OF RIGHTS TO DUE PROCESS AND TO TRIAL BY JURY;
       ATTEMPTED UNLAWFUL CONVERSION OF PRIVATE PROPERTY UNDER
            COLOR OF LAW AND EXTORTION UNDER COLOR OF OFFICE;
      ATTEMPTS TO ENFORCE A VOID JUDGMENT ISSUED BY A FEDERAL COURT
        LACKING SUBJECT-MATTER JURISDICTION UNDER ANY APPLICABLE
          ENABLING ENFORCEMENT CLAUSE IN THE CONSTITUTION; AND
        FOR BLATANT VIOLATIONS OF ARTICLE, I, SECTION 2, CLAUSE 3; AND
                      ARTICLE I, SECTION 9, CLAUSE 4; AND
                        ARTICLE I, SECTION 8; CLAUSE 1
                        OF THE U.S. CONSTITUTION; AND
                         FOR BLATANT VIOLATIONS OF
                           CONSTITUTIONAL RIGHTS
                               -SECURED UNDER
                             THE 4th AMENDMENT;
                             THE 5th AMENDMENT;
                           THE ,'h AMENDMENT; AND
                             THE 14 th AMENDMENT
                          TO THE U.S. CONSTITUTION,
                            AND ARTICLE I OF THE
                             UTAH CONSTITUTION

                          TRIAL BY JURY DEMANDED

     Additionally, there is an appeal of judgment pending in the United States Tenth
    Circuit Court of Appeals that also involves this property, Docketed as Case
    Number: 19-4075 in that U.S. Tenth Circuit court. Litigation has been on-going in
    this legal action since 2017, and the Appeals arguments have not yet even been
    calendared in the Circuit Court.
Case 2:23-cr-00159-HCN-DBP Document 297 Filed 06/03/24 PageID.4728 Page 57 of 77
         Case 2:17-cv-01223-RJS Document 117-10 Filed 03/0:-flt205@a~42JjJi9 PG 3 of ~




    The said lands and premises to be affected by said suit in Utah County and the
    federal courts, are legally described as follows:
        Lot: 3 Plat "C",
        Amended North Meadow Estates Subdivision
        47:059:0003

    Also known as:

       9870 N. Meadow Drive!
       Cedar Hills, Utah 84062

     This LIS PENDENS Notice provides all potential purchasers and lien holders with
     constructive legal Notice that there is ongoing litigation affecting the real estate,
     and those that those persons claiming a subsequent interest, take a     subordinated
     interest to the plaintiff's interest post litigation. If the plaintiff prevails in the
     action, the plaintiff would have priority over purchasers subsequent to the filing of
     the Lis pendens.


     In sum, "the primary purpose of the notice of Lis pendens is to preserve the
     property which is the subject matter of the lawsuit from actions of the property
     owner so that full judicial relief can be granted, if the plaintiff prevails." A Lis
     pendens may be filed in an action affecting real estate and, in the State of Utah, is
     governed by statute under Utah Code, Title 788 - Judicial Code, Chapter 6, Part
     13, Section 1303 Lis pendens - Notice.
          Sworn and submitted this 25 s1 day of June 2019, by:



          !~h~-~aR-d_
                                                           arbara Ann Cromar
           9870 N. Meadows Dr.                            9870 N. Meadows Dr.
           Cedar Hills, UT 84062                          Cedar Hills, UT 84062
Case 2:23-cr-00159-HCN-DBP Document 297 Filed 06/03/24
                                                 .         PageID.4729
                                                          ,E:tl.T            Page PG
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                                                                                       of 77
                                                                                           4
         Case 2:17-cv-01223-RJS Document 117-10 Filed 03/lJ4~2O 1-1aye ~-oro




                              CERTIFICATE OF SERVICE


     I, Paul Kenneth Cromar certify that a true copy of the attached Lis pendens has
     been served via regular US postal service to the following:



     John W. Huber US Attorney (#7226) ,
     John K. Mangum, Asst. US Attny (#2072)
     111 South Main Street, #1800
     Salt Lake City, Utah 84111




                                   CQ k=L&~
                                     Paul Kenneth Cromar
                                     9870 N. Meadows Dr.
                                     Cedar Hills, UT 84062



                                     June 25th, 2019
Case 2:23-cr-00159-HCN-DBP   Document 297 Filed 06/03/24 PageID.4730 Page 59 of 77
         Case 2:17-cv-01223-RJS Document 117-11 Filed 03/04/20 Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

   UNITED STATES OF AMERICA,

              Plaintiff,                                 Case No. 2: 17-cv-0 1223-RJS

                  v.

   PAUL KENNETH CROMAR,
   BARBARA ANN CROMAR,                                   ORDER CONFIRMING SALE AND
   UTAH HOUSING FINANCE AGENCY,                          DISTRIBUTING PROCEEDS
   UNIVERSAL CAMPUS FEDERAL CREDIT
   UNION,
   STATE OF UTAH, TAX COMMISSION,
   AND UTAH COUNTY, UTAH

              Defendants.


          On March 20, 2019, the Court entered an Order of Foreclosure and Judicial Sale (ECF

   No. 104). The Order directed the United States to sell the property of Paul Kenneth Cromar

   located at 9870 N. Meadow Drive, Cedar Hills, Utah 84062-9430 ("the property"), which is

   more- particularly described as:

                  Lot 3, Plat "C", Amended North Meadows Estates Subdivision, according to the
                  official plat thereof on file in the office of the Recorder, Utah County, Utah.


          Upon review of the United States' Motion for Order Confirming Sale and Distributing

   Proceeds, and for good cause showing:

          IT IS ORDERED THAT the sale on September 10, 2019 of the property was properly

   conducted. The sale is hereby confirmed.

          IT IS FURTHER ORDERED THAT the Internal Revenue Service is authorized to

   execute and deliver to the purchaser a Certificate of Sale and Deed conveying the property to the

   purchaser or assignee(s).

          IT IS FURTHER ORDERED THAT, on delivery of the Certificate of Sale and Deed, all

   interests in, liens against, or claims to the property (including the June 28, 2019 lis pendens that
Case 2:23-cr-00159-HCN-DBP Document 297 Filed 06/03/24 PageID.4731 Page 60 of 77
         Case 2:17-cv-01223-RJS Document 117-11 Filed 03/04/20 Page 2 of 3




  Paul Kenneth Cromar filed in Utah County, Utah and that is attached in Exhibit H to the United

   States' Motion) that are held or asserted in this action by the United States or any of the

  Defendants are discharged and extinguished. On the delivery of the Certificate of Sale and Deed,

  the property shall be free and clear of the interests of all parties to this action.

          IT IS FURTHER ORDERED THAT possession of the property sold shall be yielded to

   the purchaser or assignee( s) upon the production of a copy of the Certificate of Sale and Deed; if

   there is a refusal to so yield, a Writ of Assistance may, without further notice, be issued by the

   Clerk of Court to compel delivery of the property to the purchaser or assignee(s).

          IT IS FURTHER ORDERED THAT the proceeds of the sale on September 10, 2019 of

   the property shall be distributed by the Clerk of Court as follows:

           1.     First, by check made payable to the "Internal Revenue Service" in the amount of

   $683.80 for costs of sale, mailed to:

                  Internal Revenue Service
                  c/o Gary Chapman
                  IRS Property Appraisal & Liquidation Specialist
                  1201 Pacific Ave., Suite 550, MIS W802
                  Tacoma, WA 98402


          2.       Second, by check made payable to Utah County, Utah in the amount of

   $2,114.49, as of March 3, 2020, plus an additional $0.44 for each day past March 3, 2020,

   mailed to:
                  Utah County Treasurer
                  100 E. Center Street, Suite 1200
                  Provo, Utah 84606


          3.      Third, by check made payable to the "United States Department of Justice," with

   "United States v. Cromar, et al., Case No. 2:17-cv-01223" written in the memo field, of the

   remaining proceeds from the sale, mailed to:

                  Department of Justice, ATTN: TAXFLU
                  P.O. Box 310 - Ben Franklin Station
                  Washington, DC 20044

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         Case 2:17-cv-01223-RJS Document 117-11 Filed 03/04/20 Page 3 of 3




  IT IS SO ORDERED.



  Dated this _ _ _ _ day of March, 2020



                                          Robert J. Shelby
                                          United States District Judge




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                        EXHIBITB
         Case 2:23-cr-00159-HCN-DBP Document 297 Filed 06/03/24 PageID.4734 Page 63 of 77




                                                        IN THE UNITED STATES DISTIUCT COURT
                                                              FOR THE DISTRICT OF UTAH

                           THE UNITED ST ATES OF AMERICA,
                                                                                   ORDER OF FORECLOSURE AND
                                                  Plaintiff,                             JUDICIAL SALE  •

                           v.

                           PAUL KENNETH CROMAR;                                           Case No. 2:l 7-cv-01223
                           BARBARA ANN CROMAR; UTAH
                           HOUSING FINANCE AGENCY;                                      Chief Judge Robert J. Shelby
                           UNIVERSAL CAMPUS FEDERAL
                           CREDIT UNION; STATE OF UTAH                                Magistrate Judge Evelyn J. Furse
                           TAX COMMISSION; and UTAH
                           COUNTY, UTAH;

                                                  Defendants.


                                     This matter is before the court on the United States' Motion for Order of Foreclosure and

                   Judicial Sale. 1 Pursuant to the United States' Motion and the comt's Default Judgment,2 this

                   Order of Foreclosure and Judicial Sale is entered pursuant to the provisions of 28 U.S.C. §§ 200)

                   & 2Q.Q2. and~ U.S.C. §§ 7402 & 7403. The court hereby ORDERS as follows:

                                     1.      This Order pe1tains to real property owned by Paul Kenneth Cromar (the "Subject

                   Property"), which is located at 9870 N. Meadow Drive, Cedar Hills, Utah 84062-9430 and is

                   more particularly described in Paragraph 15 of the United States' Complaint. 3

                                     2.      The United States has valid and subsisting tax liens on all property and rights to

                   property of Defendant Paul Kenneth Cromar, including the Subject Property,4 arising from the



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                           See Dkt. 96 at ,r 3.                  EXHIBIT
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         Case 2:23-cr-00159-HCN-DBP Document 297 Filed 06/03/24 PageID.4735 Page 64 of 77




                    assessments described in the United States' Complaint, which liens are effective as of the dates

                    of those assessments. The United States fmther protected its liens by filing Notices of Federal

                    Tax Liens with the Utah County Recorder's Office.

                               3.      As a result of their default, Defendants Barbara Ann Cromar and Universal .

                    Campus Federal Credit Union have no interest in the Subject Property or the sale proceeds

                     therefrom. 5

                               4.      Under 26 U,S.C. § 7403, the United States is entitled to enforce its liens against

                     the Subject Property in order to apply the proceeds towards the tax liabilities of Paul Kenneth

                     Crnmar.

                               5,      The United States' federal tax liens against the Subject Property are hereby

                     foreclosed. The United States Marshal, his/her representative, or an Internal Revenue Service

                     Property Appraisal and Liquidation Specialist ("PALS") representative is authorized and directed

                     under 28 U.S,C, §§ 2001 and 2.Q.02 to offer for public sale and to sell the Subject Property free

                     and clear of the right, title, and interest of all parties to this action and any successors in interest

                     or transferees of those parties. The United States may choose either the United States Marshal or

                     a PALS representative to carry out the sale under this Order of Foreclosure and Judicial Sale and

                     shall make the arrangements for any sales as set forth in this Order. This Order of Foreclosure

                     and Judicial Sale shall act as a special writ of execution and no further orders or process from the

                     court shall be required.

                               6.      The United States Marshal, his/her representative, or a PALS representative is

                         authorized to have free access to the Subject Property and to take all actions necessary to




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                         Id at~4.

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          Case 2:23-cr-00159-HCN-DBP Document 297 Filed 06/03/24 PageID.4736 Page 65 of 77




                         preserve the Subject Property, including, without limitation, retaining a locksmith or other

                         person to change or install locks or other security devices on any part thereof, until a deed

                         thereto is delivered to the ultimate purchaser(s).

                               7.      The terms and conditions of the sale are as follows:

                                       a.      Except as otherwise stated herein, the sale of the Subject Property shall be

                                               by public auction to the highest bidder, free and clear of all liens and

                                               interests of parties to this action, with the proceeds of such sale to be

                                               distributed in accordance with the priority of the lienholders set forth in

                                               paragraph 12, below.

                                        b.     The sale shall be subject to all laws, ordinances, and governmental

                                               regulations (including building and zoning ordinances), affecting the

                                               premises, and easements and restrictions of record, if any.

                                        c,     The sale shall be held at the United States District Court for the District of

                                               Utah, on the Subject Prope1ty's premises, or at any other place in

                                               accordance with the provisions of28 U,S,C, §§ 2001 and        rn, at a date
                                                and time announced by the United States Marshal, his/her representative,

                                               or a PALS representative,

                                        d.     Notice of the sale shall be published once a week for at least four

                                                consecutive weeks before the date fixed for the sale in at least one

                                                newspaper regularly issued and of general circulation in Utah County,

                                                Utah, and, at the discretion of the Marshal, his/her representative, or a

                                               PALS representative, by any other notice that it or its representative may

                                               deem appropriate. State or local law notice requirements for foreclosures



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                              or execution sales do not apply to the sale under federal law, and state or

                              local law regarding redemption rights do not apply to this sale, The notice

                              or notices of sale shall describe the Subject Property and shall contain the

                              material terms and conditions of sale in this Order of Foreclosure and

                              Sale.

                         e.   The minimum bid will be set by the Internal Revenue Service. lfthe

                              minimum bid is not met or exceeded, the Marshal, his/her representative,

                              or a PALS representative may, without fu1iher permission of this coutt,

                              and under the terms and conditions in this Order of Foreclosure and

                              Judicial Sale, hold new public sales, if necessary, and reduce the minimum

                              bid or sell to the highest bidder.

                         f.   Bidders shall be required to deposit, at the time of sale with the Marshal,

                              his/her representative, or a PALS representative, a minimum of 10 percent

                              of the bid, with the deposit to be made by a certified or cashier's check

                              payable to the United States District Court for the District of Utah. Before

                              being pennitted to bid at the sale, bidders shall display to the Marshal,

                              his/her representative, or a PALS representative satisfactory proof of

                              compliance with this requirement.

                         g,   The balance of the purchase price of the Subject Property in excess of the

                              deposit tendered shall be paid to the Marshal or a PALS representative

                              (whichever person is conducting the sale) within 30 days after the date the

                              bid is accepted, by a certified or cashier's check payable to the United

                              States District Court for the District of Utah. If the successful bidder or



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                              bidders fails to fulfill this requirement, the deposit shall be forfeited and

                              shall be applied to cover the expenses of the sale, including commissions

                              due under 28 U,S,C, §192l(c), with any amount remaining to be applied

                              first to the federal tax liabilities of Paul Kenneth Cromar. The Subject

                              Property shall be again offered for sale under the terms and conditions of

                              this Order of Foreclosure and Judicial Sale or, in the alternative, sold to

                              the second-highest bidder. The United States may bid as a credit against

                              its judgment without tender of cash.

                         h.   The sale of the Subject Property shall not be final until confirmed by this

                              court. The Marshal or a PALS representative shall file a report of sale

                              with the court within 30 days from the date of receipt of the balance of the

                              purchase price.

                         1.   Upon confirmation of the sale, the Marshal or PALS representative shall

                              promptly execute and deliver a deed of judicial sale conveying the Subject

                              Properly to the purchaser or purchasers.

                         J.   Upon confinnation of the sale or sales, the interests of, liens against, or

                              claims to the Subject Property held or asserted by the United States and

                              any other parties to this action or any successors in interest or transferees

                              of those parties shall be discharged and extinguished. The sale is ordered

                              pursuant to 28 U,S,C. §2001. Redemption rights under state or local law

                              shall not apply to this sale under federal law.

                         k.   Upon confirmation of the sale, the purchaser or purchasers are responsible

                              for having the Recorder of Deeds of Utah County, Utah cause the transfer



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          Case 2:23-cr-00159-HCN-DBP Document 297 Filed 06/03/24 PageID.4739 Page 68 of 77




                                             of the Subject Property to be reflected in the Utah County property

                                             records.

                             8.      Until the Subject Property is sold, Paul Kenneth Cromar shall take all t·easonable

                     steps necessary to preserve the Subject Property (including all buildings, improvements, fixtures,

                     and appurtenances thereon) including, without limitation, maintaining fire and casualty insurance

                     policies on the Subject Property. He shall keep cunent in paying real property taxes as they arc

                     assessed by Utah County. He shall not commit waste against the Subject Prope~'ty, nor shall he

                     cause or permit anyone else to do so. He shall not do anything that tends to reduce the value or

                     marketability of the Subject Property, nor shall he cause or permit anyone else to do so. He shall

                     not record any instruments, publish any notice, or take any other action that may directly or

                      indirectly tend to adversely affect the value of the Subject Property or that may tend to deter or

                      discourage potential bidders from participating in the public sale, nor shall he cause or permit

                      anyone else to do so. Violation of this paragraph shall be deemed a contempt of court and

                      punishable as such.

                             9.      All persons occupying the Subject Property shall leave and vacate permanently

                      the property no later than l S clays after the date of this Order, each taking with them his or her

                      personal prope1ty (but leaving all improvements, buildings, fixtures, and appurtenances) when

                      leaving and vacating. If any person fails or refuses to leave and vacate the Subject Property by

                      the time specified in this Order, the United States Marshal's Office or his/her representative is

                      authorized to take whatever action it deems appropriate to remove such person or persons from

                      the premises, whether or not the sale of such property or prope1ties is being conducted by a

                      PALS representative. If any person fails or refuses to remove his or her personal property from

                      the Subject Property by the time specified herein, the personal property remaining at the Subject



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                     Property thereafter is deemed forfeited and abandoned, and the United States Marshal's Office,

                     his/her representative, or the PALS representative is authorized and directed to remove and

                     dispose of it in any manner they see fit, including sale, in which case the proceeds of sale are to

                     be applied first to the expenses of sale, and then to the tax liabilities at issue herein.

                             10.     Notwithstanding the terms of the immediately preceding paragraph, if, after the

                     sale of the Subject Property is confirmed by this court, the Subject Property remains occupied, a

                     writ of assistance may, without further notice, be issued by the Clerk of Court pursuant to Rule

                     70 of the Federal Rules of Civil Procedure to compel delivery of possession of the Subject

                     Property to the purchaser or purchasers thereof,

                             11.     If any person occupying the Subject Property vacates the Subject Property prior to

                     the deadline set forth in Paragraph 9, above, such person shall notify counsel for the United

                     States no later than two business days prior to vacating the property of the date on which he or

                     she is vacating the property. Notification shall be made by leaving a message for counsel for the

                     United States, Ryan S. Watson, at (202) 514-5173.

                             12.     The Marshal, his/her representative, or a PALS representative, shall deposit the

                     amount paid by the purchaser or purchasers into the registry of the court. Upon appropriate

                     motion for disbursement or stipulation of the parties, the court will disburse the funds i11 the

                     following order of preference until these expenses and liens are satisfied: first, to the IRS for

                     allowed costs and expenses of sale, including any commissions due under 28 U.S.C. § 1921 (c.)

                     and including an amount sufficient to cover the costs of any steps taken to secure or maintain the

                     real property at issue pending sale and confirmation by the court; second, to Utah County for ad

                     va/orem property tax or special assessment liens upon the real property entitled to priority over

                     prior secmity interests, as provided by 26 U.S.C. § 6323; and third, to the United States of



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                       America to satisfy or partially satisfy the federal tax liabilities of Paul Kenneth Cromar, at issue

                       herein, Should there then be any remaining proceeds, those proceeds will be held by the court

                       pending further motion by the parties.

                              SO ORDERED this 20th day of March, 2019.

                                                                     BY THE COURT:




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                        EXHIBIT C
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                                                  IN THE UNITED STATES DISTRICT COURT
                                                        FOR THE DISTRICT OF UTAH


                            UNITED STATES OF AMERICA,                        ORDER CONFIRMING SALE AND
                                                                               DISTRIBUTING PROCEEDS
                                    Plaintiff,
                                                                                  Case No. 2: I 7-cv-0 1223-RJS
                            v.
                                                                                  Chief Judge Robert J. Shelby
                            PAUL KENNETH CROMAR, BARBARA
                            ANN CROMAR, UTAH HOUSING                                                     ,.
                            FINANCE AGENCY, UNIVERSAL                                                             GOVERNMENT
                            CAMPUS FEDERAL CREDIT UNION,                                                            EXHIBIT
                            STATE OF UTAH, TAX COMMlSSION,
                            AND UTAH COUNTY, UTAH,
                                                                                                                     No.41
                                    Defendants.                                                          ..
                                   On March 20, 2019, the court entered an Order of Foreclosure and Judicial Sale. 1 The

                        Order directed the United States to sell Paul Kenneth Cromar's property located at 9870 N.

                        Meadow Drive, Cedar Hills, Utah 84062-9430 (the property), which is more particularly described

                        as:

                                   Lot 3, Plat "C", Amended North Meadows Estates Subdivision, according to the
                                   official plat thereofon file in the office of the Recorder, Utah County, Utah.

                                   The court now has before it the United States' Motion for Order Confirming Sale and

                        Distributing Proceeds,2 together with Defendants Paul Kenneth Cromar and Barbara Ann

                        Cromar's Objection to Plaintiffs Motion for Disbursement and Rejection of Default Judgment for

                        Fraud and Swindle in Dishonor. 3 Upon review, the Cromars' Objection raises no evidentiary

                        objections to the United States' Motion and offers no legal or factual arguments justifying denial

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                      , Case 2:17-cv-01223-RJS Document 119 Filed 04/15/20 PagelD.1177 Page 2 of 4




                          of the Motion. 4 Instead, the Objection relies on the same frivolous arguments the Cromars have

                          raised throughout this case, i.e., that their due process rights have been violated and this court lacks

                          subject matter jurisdiction over this case. 5 But this court and the Tenth Circuit have repeatedly

                          rejected these arguments, and the court declines to readdress the arguments here other than to note

                          that they unequivocally fail. 6 For that reason, the Motion is substantially unopposed and is well

                          taken. Therefore, for good cause appearing, the United States' Motion is GRANTED as follows:

                                       IT IS ORDERED THAT the sale on September I 0, 2019, of the property was properly

                          conducted, and the sale is hereby confirmed.

                                       IT IS FURTHER ORDERED THAT the Internal Revenue Service is authorized to execute

                          and deliver to the purchaser a Certificate of Sale and Deed conveying the property to the purchaser

                          or assignee(s).

                                       IT IS FURTHER ORDERED THAT, on delivery of the Certificate of Sale and Deed, all

                          interests in, liens against, or claims to the property (including the June 28, 2019 !is pendens that

                          Paul Kenneth Cromar filed in Utah County, Utah, and that is attached in Exhibit H to the United

                          States' Motion) that are held or asserted in this action by the United States or any of the Defendants

                          are discharged and extinguished. On the delivery of the Certificate of Sale and Deed, the property

                          shall be free and clear of the interests of all parties to this action.




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                              See id
                          ; See id
                          6
                            See United Stales v. Cromar, Case No. 2: 17-cv-01223. 2010 WL )488763 (I 0th Cir. Mar. 26, 2020) (unpublished);
                          see also United States v. Cromar, Case No. 2: 17-cv-0 1223, 2018 Wl, 3719258 (D. Utah Aug. 3, 2018); United States
                          v. Cromar, Case No. 2:17-cv-01223, 20 l 8 WI, 9171363 (D. Utah May 14, 2018). The Cromars make other similarly
                          frivolous arguments based on the misapplication of various statutory provisions and improperly include requests for
                          relief in their Objection. See DUCiy.R 7-l(b)(l)(A) ("No motion ... may be included in a response or reply
                          memorandum.").

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                           Case 2:17-cv-01223-RJS Document 119 Filed 04/15/20 PagelD.1178 Page 3 of 4




                                  IT IS FURTHER ORDERED THAT possession of the property sold shall be yielded to the

                           purchaser or assignee(s) upon the production of a copy of the Certificate of Sale and Deed; if there

                           is a refusal to so yield, a Writ of Assistance may, without further notice, be issued by the Clerk of

                           Court lo compel delivery of the property to the purchaser or assignee(s).

                                  IT IS FURTHER ORDERED THAT the proceeds of the sale on September 10, 2019, of

                           the property shall be distributed by the Clerk of Court as follows:

                                  1.      First, by check made payable to the "Internal Revenue Service" in the amount of

                           $683.80 for costs of sale, mailed to:

                                          Internal Revenue Service
                                          c/o Gary Chapman
                                          [RS Property Appraisal & Liquidation Specialist
                                          1201 Pacific Ave., Suite 550, M/S W802
                                          Tacoma, WA 98402

                                  2.      Second, by check made payable to "Utah County, Utah" in the amount of

                           $2,114.49, as of March 3, 2020, plus an additional $0.44 for each day past March 3, 2020, mailed

                           to:

                                          Utah County Treasurer
                                          l 00 E. Center Street, Suite 1200
                                          Provo, Utah 84606

                                   3.     Third, by check made payable to the "United States Department of Justice," with

                           "United Stales v. Cromar, el al., Case No. 2: l 7-cv-01223" written in the memo field, in the amount

                           of the remaining proceeds from the sale, mailed to:

                                          Department of Justice, ATTN: TAXFLU
                                          P.O. Box 310 - Ben Franklin Station
                                          Washington, DC 20044




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                                SO ORDERED this 15th day of April 2020.




                                                                           tes Chief District Judge




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                        EXHIBITD
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                                             DEPARTMENT OF THE TREASURY
                                               'INTERNAl- REVENUE SERVICE
                                                    Wa~hington, DC 20224


          $MALL BUSINES:S / SELF-EMPLOYED DIVISION

                                                                         Date January 21st, 20Z0




                                               RECEIPT FOR DEPOSIT

          On September 10th • 2019, the property identified by the oommonly known address of
          9870 N Meadow Dr, Cedar Hills, UT 84062, by Notice of Judicial Sale, was sold at
          public auction under an order for foreclosure of Federal Tax Liens and order of sale of
          real property pur$uant to The United States v. Paul Kenneth Cromar, et al.

          The above property was sold to you as the highest bidder for $330,000.00 .

           Tnis is a receipt fodhef1nl31 payment of $299,000.00 for the purqhase of this property·
           as r$ceived by Gary Chapman, Property _Apprais~I arid Liquidation Specialist'forthe
           Internal Revenue Service, Employee No. fbQQ034:2786 ori January21 st , 2020.

           A deed will be issued upon final pc:iyment and sale confirmation by the -co.urt.


           Copper Bitch Properties LLC               01/21/2020
          9671 North 5650 West                       Date           PALS         .
          Highlam;I_ Utah 84003                                     Gary Chapman
                                                                    10000342786
           Purchaser




American Fork Police Department                                                               USA~PROD4-0000211
